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10                             UNITED STATES DISTRICT COURT
11                          NORTHERN DISTRICT OF CALIFORNIA
12 In re LENDINGCLUB SECURITIES             )   Case No. 3:16-cv-02627-WHA
   LITIGATION                               )
13                                          )   CLASS ACTION
                                            )
14 This Document Relates To:                )   [PROPOSED] JUDGMENT
                                            )
15           ALL ACTIONS.                   )
                                            )
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     1449155_1
                Case 3:16-cv-02627-WHA Document 401 Filed 09/24/18 Page 2 of 51




            1          This matter came before the Court on the application of the parties for final approval of the

            2 settlement set forth in the Stipulation of Settlement dated February 21, 2018 (the “Stipulation”). Full

            3 and adequate notice having been given to the Class as required in the Court’s Order Granting

            4 Preliminary Approval of Class Settlement dated March 16, 2018 and Order Approving Amended

            5 Proposed Notices dated March 26, 2018, and the Court having considered all papers filed and

            6 proceedings had herein and otherwise being fully informed in the premises and good cause

            7 appearing therefore, IT IS HEREBY ORDERED THAT:

            8          1.      This Judgment incorporates by reference the definitions in the Stipulation, and all

            9 terms used herein shall have the same meanings as set forth in the Stipulation, unless otherwise set

       10 forth herein.

       11              2.      This Court has jurisdiction over the subject matter of the Litigations and over all

       12 parties to the Litigations, including all Class Members.

       13              3.      The Court finds that the distribution of the Notice, Proof of Claim and Release, and

       14 Summary Notice complied with the terms of the Stipulation and the Order, and provided the best

       15 notice practicable under the circumstances of those proceedings and of the matters set forth therein,

       16 including the proposed settlement set forth in the Stipulation, to all Persons entitled to such notice,

       17 and said notice fully satisfied the requirements of Federal Rule of Civil Procedure 23; Section 27 of

       18 the Securities Act of 1933, 15 U.S.C. §77z-1(a)(7) and §21D(a)(7) of the Securities Exchange Act of

       19 1934, 15 U.S.C. §78u-4(a)(7), both as amended by the Private Securities Litigation Reform Act; due

       20 process; and any other applicable law.

       21              4.      The Court has considered the objection to the settlement by Tommy L. Swanson, Sr.,

       22 and finds that it is without merit. It is therefore overruled in its entirety.

       23              5.      In light of the benefits to the Class Members, the complexity, expense, and possible

       24 duration of further litigation against Defendants, the risks of establishing liability and damages, the

       25 risks and costs of continued litigation, and the other reasons set forth in the Stipulation, the Court

       26 hereby approves the settlement set forth in the Stipulation pursuant to Federal Rule of Civil

       27 Procedure 23 and finds that:

       28

1449155_1       [PROPOSED] JUDGMENT - 3:16-cv-02627-WHA                                                           -1-
                Case 3:16-cv-02627-WHA Document 401 Filed 09/24/18 Page 3 of 51




            1                 (a)    the Stipulation and the settlement contained therein, are, in all respects, fair,

            2 reasonable, and adequate and in the best interest of the Class Members;

            3                 (b)    there was no collusion between or among the parties in reaching the

            4 agreement set forth in the Stipulation;

            5                 (c)    the Stipulation was the product of informed, arm’s-length negotiations among

            6 competent, able counsel and with the assistance of Chief Magistrate Judge Joseph C. Spero; and

            7                 (d)    the record is sufficiently developed and complete to have enabled the Settling

            8 Parties to have adequately evaluated and considered their positions.

            9         Accordingly, the Court authorizes and directs implementation and performance of all the

       10 terms and provisions of the Stipulation, as well as the terms and provisions hereof.

       11             6.      Except as to any individual claim of those Persons (identified in Exhibit 1 attached

       12 hereto) who have validly and timely requested exclusion from the Class, the Federal Litigation and

       13 all claims contained therein, including the Released Claims, are dismissed with prejudice as to all

       14 Settling Parties and their Related Parties (as defined in the Stipulation). The Settling Parties are to

       15 bear their own fees and costs except as otherwise provided in the Stipulation or in any separate order

       16 with respect to the application for attorneys’ fees or expenses, and notice and administration

       17 expenses, pursuant to the Stipulation.

       18             7.      Upon the Effective Date, and as provided in the Stipulation, all Releasing Plaintiffs

       19 and Class Members and anyone claiming through or on behalf of any of them, shall be deemed to

       20 have, and by operation of the Judgment shall have, fully, finally, and forever released, relinquished,

       21 and discharged all Released Claims against the Released Defendants. Upon the Effective Date, the

       22 Releasing Plaintiffs and Class Members will be forever barred and enjoined from commencing,

       23 instituting, prosecuting or continuing to prosecute any action or other proceeding in any court of law

       24 or equity, arbitration tribunal, or administrative forum, asserting the Released Claims against any of

       25 the Released Defendants. Claims to enforce the terms of the Stipulation are not released.

       26             8.      Upon the Effective Date, and as provided in the Stipulation, each of the Releasing

       27 Defendants shall be deemed to have, and by operation of the Judgment shall have, fully, finally, and

       28 forever released, relinquished, and discharged all Releasing Defendants’ Claims (including

1449155_1       [PROPOSED] JUDGMENT - 3:16-cv-02627-WHA                                                            -2-
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            1 Unknown Claims) against Released Plaintiffs and Class Members, and Federal and State Lead

            2 Counsel, whether arising under federal, state, common or foreign law. Upon the Effective Date, the

            3 Releasing Defendants will be forever barred and enjoined from commencing, instituting, prosecuting

            4 or continuing to prosecute any action or other proceeding in any court of law or equity, arbitration

            5 tribunal, or administrative forum, asserting the Releasing Defendants’ Claims against any of the

            6 Released Plaintiffs and Class Members, and Federal and State Lead Counsel. Releasing Defendants

            7 are aware of the California Civil Code §1542 and expressly waive and relinquish any rights or

            8 benefits available to them under this statute. Claims to enforce the terms of the Stipulation are not

            9 released.

       10              9.     As set forth in the Stipulation, State Class Representatives and State Lead Counsel

       11 will notify the State Court within two (2) business days of entry of Judgment.

       12              10.    State Class Representatives and State Lead Counsel will notify the State Court within

       13 two (2) business days of Judgment becoming Final.

       14              11.    Each Class Member, whether or not such Class Member executes and delivers a Proof

       15 of Claim and Release, is bound by this Judgment, including, without limitation, the release of claims

       16 as set forth in the Stipulation.

       17              12.    All Persons and entities whose names appear on Exhibit 1 hereto are hereby excluded

       18 from the Class, are not bound by this Judgment, and may not make any claim with respect to or

       19 receive any benefit from the settlement.

       20              13.    Neither the Stipulation nor the settlement contained therein, nor any act performed or

       21 document executed pursuant to or in furtherance of the Stipulation or the settlement: (a) is or may be

       22 deemed to be or may be used as an admission of, or evidence of, the validity of any Released Claim,

       23 the truth of any of the allegations in the Litigations, or of any wrongdoing, fault, or liability of the

       24 Defendants or their respective Related Parties, or that Federal Lead Plaintiff or State Class

       25 Representatives or any Class Members have suffered any damages, harm, or loss; or (b) is or may be

       26 deemed to be or may be used as an admission of, or evidence of, any fault or omission of any of the

       27 Defendants or their respective Related Parties in any civil, criminal, or administrative proceeding in

       28 any court, administrative agency, or other tribunal. The Defendants and/or their respective Related

1449155_1      [PROPOSED] JUDGMENT - 3:16-cv-02627-WHA                                                           -3-
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            1 Parties may file the Stipulation and/or this Judgment in any other action that may be brought against

            2 them in order to support a defense or counterclaim based on principles of res judicata, collateral

            3 estoppel, release, good faith settlement, judgment bar or reduction, or any theory of claim preclusion

            4 or issue preclusion or similar defense or counterclaim.

            5          14.     Any Plan of Allocation submitted by Federal or State Lead Counsel or any order

            6 entered regarding any attorneys’ fee and expense application shall in no way disturb or affect this

            7 Judgment and shall be considered separate from this Judgment. Defendants have no responsibility

            8 with respect to the Plan of Allocation.

            9          15.     Without affecting the finality of this Judgment in any way, this Court hereby retains

       10 continuing jurisdiction over: (a) implementation of this settlement and any award or distribution of

       11 the Settlement Fund, including interest earned thereon; (b) disposition of the Settlement Fund;

       12 (c) hearing and determining applications for attorneys’ fees, expenses, and interest in the Litigations;

       13 and (d) all parties herein for the purpose of construing, enforcing, and administering the Stipulation.

       14              16.     The Court finds that during the course of the Litigations, the Settling Parties and their

       15 respective counsel at all times complied with the requirements of Federal Rule of Civil Procedure 11

       16 and applicable California and federal rules of professional responsibility.

       17              17.     In the event that the Effective Date does not occur, this Judgment shall be rendered

       18 null and void to the extent provided by and in accordance with the Stipulation and shall be vacated

       19 and, in such event, all orders entered and releases delivered in connection herewith shall be null and

       20 void to the extent provided by and in accordance with the Stipulation.

       21              18.     Without further order of the Court, the Settling Parties may agree to reasonable

       22 extensions of time to carry out any of the provisions of the Stipulation.

       23              19.     Nothing herein shall release or alter the rights, if any, under the terms of any bylaws

       24 or other written agreements: (i) between Dolan, Laplanche and/or the Director Defendants, on the

       25 one hand, and LendingClub, on the other hand, (ii) between the Underwriter Defendants, on the one

       26 hand, and LendingClub, on the other hand, or (iii) between or among the Underwriter Defendants.

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1449155_1       [PROPOSED] JUDGMENT - 3:16-cv-02627-WHA                                                              -4-
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            1         20.     The provisions of this Judgment constitute a full and complete adjudication of the

            2 matters considered and adjudged herein, and the Court directs immediate entry of this Judgment by

            3 the Clerk of the Court.
                                                                               ISTRIC
            4         IT IS SO ORDERED.                                   TES D      TC
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                       September 24, 2018.
            6 DATED: _____________________
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                                                           THE HONORABLE        DIFIED ALSUP
                                                                              WILLIAM
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            7                                                         A DISTRICT JUDGE
                                                           UNITED STATES
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                                                                            Judge W




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                EXHIBIT 1
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                    Exclusion Cover Page
Case Name: LendingClub Securities Litigation

Case Code: LBS

Exclusion Deadline: June 25, 2018 (Received Date)

Name of Person Filing Exclusion: David J Berger
      Case 3:16-cv-02627-WHA Document 401 Filed 09/24/18 Page 9 of 51




                             David J. Berger




June 12, 2018

Lending Club Securities Litigation
Claims Administrator
EXCLUSIONS
c/o Gilardi & Co. LLC
3301 Kerner Blvd.
San Rafael, California 94901



Dear Sir or Madam:

I wish to be excluded from the Class and do not wish to participate in
the settlement in In re Lending Club Securities Litigation, Case No.
3:16-cv-02627-WHA (N.D. Cal.).

At $0.45 per share, I do not believe that this settlement fairly
compensates me for my losses.

I purchased 100 shares on 12/11/2014 for $15.00 each. I still retain
these shares at their current price of $3.29, and have thus lost more
than $1,281.

Sincerely,
                Case 3:16-cv-02627-WHA Document 401 Filed 09/24/18 Page 10 of 51




     David J. Berger                                        COLUM Bl.JS OH ..-131

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                                   Lending Club Securities Litigation
                                   Claims Administrator
        ~:g@fgO~O~ill1             EXCLUSIONS
          JUN 1 9 2018             c/o Gilardi & Co. LLC
                                   3301 Kerner Blvd.
         "'I.AIMS CENTER
                                   San Rafael, California 94901

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  Case 3:16-cv-02627-WHA Document 401 Filed 09/24/18 Page 11 of 51



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                                                                                                                  JUN 2 5 2018
                                                                                                                CLAIMS CENTER




                       Exclusion Cover Page
Case Name: LendingClub Securities Litigation

Case Code: LBS

Exclusion Deadline: June 25, 2018 (Received Date)

Name of Person Filing Exclusion: Valin or Funds
      Case 3:16-cv-02627-WHA Document 401 Filed 09/24/18 Page 12 of 51


                                            Richard A. Bodnar            1251 Avenue of the Americas
      Lowenstein                            Counsel                      New York, New York 10020
      Sandler                                                            T: 973.422.64 76
                                                                         F: 973.422.64 77
                                                                         E: rbodnar@lowenstein.com



June 22, 2018

VIA OVERNIGHT MAIL, FEDEX, AND EMAIL

LendingClub Securities Litigation
Claims Administrator
EXCLUSIONS
c/o Gilardi & Co. LLC
3301 Kerner Blvd.
San Rafael, CA 94901


Re:    In re LendingC/ub Securities Litigation, Case No. 3:16-cv-02627-WHA (N.D. Cal.)
       Exclusion Request of the Valinor Funds

Dear Claims Administrator:

This firm represents Valinor Capital Partners, L.P., Valinor Capital Partners Offshore Master
Fund, L.P., and Valinor Capital Partners SPY VI LLC (the "Valinor Funds"). Pursuant to the
Notice of Pendency and Proposed Settlement of Class Action, approved by the Northern District
of California in relation to the above captioned matter (the "Notice") the Valinor Funds, defined
above hereby request to be excluded from the Class and do not wish to participate in the
settlement in In re LendingClub Securities Litigation, Case No. 3: 16-cv-02627-WHA (N.D.
Cal.). For the avoidance of doubt, each and every one of the Valinor Funds defined above
hereby requests to be excluded from the Class and do not wish to participate in the settlement in
In re LendingClub Securities Litigation, Case No. 3: l 6-cv-02627-WHA (N.D. Cal.).

The Valinor Funds are represented by counsel and have filed an independent action against
certain class defendants. To contact the Valinor Funds, any and all correspondence should be
directed to:

Lawrence M. Rolnick
Marc B. Kramer
Richard A. Bodnar
Lowenstein Sandler LLP
1251 Avenue of the Americas
New York, NY 10020
lrolnick@lowenstein.com
mkramer@lowenstein.com
rbodnar@lowenstein.com
T : 973.597.2468
Fax: 973 .597.2469




NEW YORK        PALO ALTO    NEW JERSEY     UTAH      WASHINGTON, D.C.               Lowenstein Sandler LLP
,.         Case 3:16-cv-02627-WHA Document 401 Filed 09/24/18 Page 13 of 51



                                                                                               Page 2



     Pursuant to the Notice, the above information shall also be considered the contact information
     for the Valinor Funds. This exclusion request is being signed by Richard A. Bodnar, an attorney
     at Lowenstein Sandler LLP representing the Valinor Funds, with Mr. Bodnar acting as
     authorized representative of the Valinor Funds for purposes of this exclusion request.

     The trade data requested by the Notice, Section 13, is annexed hereto.
     For shares that were acquired or sold pursuant to a conversion, we have listed the purchase and
     sale quantities; price information (as that term is used in the Notice) is not available as these
     were not purchases/sales on a secondary market.

     Respectfully Submitted,



                                             ........
     Richard A. Bodnar
     Lowenstein Sandler LLP
     Attorneys For, and Authorized Representative of, the Valinor Funds

     Enclosure




      Lowenstein
      Sandler
           Case 3:16-cv-02627-WHA Document 401 Filed 09/24/18 Page 14 of 51



Entity                                                Transaction                           Trade Date Qnty      Price
Valinor Capital Partners Offshore Master Fund, L.P.   BUY                                   12/11/2014   341100 $15.00
Valinor Capital Partners Offshore Master Fund, L.P.   SELL                                  12/11/2014   341100 $ 24.08
Valinor Capital Partners Offshore Master Fund, L.P.   Acquisition   of Converted   Shares   06/08/2015   733464
Valinor Capital Partners Offshore Master Fund, L.P.   Acquisition   of Converted   Shares   06/08/2015      7368
Valinor Capital Partners Offshore Master Fund, L.P.   Acquisition   of Converted   Shares   06/08/2015     26234
Valinor Capital Partners Offshore Master Fund, L.P.   Acquisition   of Converted   Shares   06/08/2015   421024
Valinor Capital Partners Offshore Master Fund, L.P.   Acquisition   of Converted   Shares   06/08/2015   205940
Valinor Capital Partners Offshore Master Fund, L.P.   Acquisition   of Converted   Shares   06/08/2015    166806
Valinor Capital Partners Offshore Master Fund, L.P.   Acquisition   of Converted   Shares   06/08/2015  6845190
Valinor Capital Partners Offshore Master Fund, L.P.   Acquisition   of Converted   Shares   06/08/2015         2
Valinor Capital Partners Offshore Master Fund, L.P.   Acquisition   of Converted   Shares   06/08/2015         2
Valinor Capital Partners Offshore Master Fund, L.P.   Acquisition   of Converted   Shares   06/08/2015         2
Valinor Capital Partners Offshore Master Fund, L.P.   Acquisition   of Converted   Shares   06/08/2015      5000
Valinor Capital Partners Offshore Master Fund, L.P.   Acquisition   of Converted   Shares   06/08/2015  1207338
Valinor Capital Partners Offshore Master Fund, L.P.   Acquisition   of Converted   Shares   06/08/2015      9284
Valinor Capital Partners Offshore Master Fund, L.P.   Acquisition   of Converted   Shares   06/08/2015     16152
Valinor Capital Partners Offshore Master Fund, L.P.   Acquisition   of Converted   Shares   06/08/2015      1652
Valinor Capital Partners Offshore Master Fund, L.P.   Acquisition   of Converted   Shares   06/08/2015      8630
Valinor Capital Partners Offshore Master Fund, L.P.   Acquisition   of Converted   Shares   06/08/2015     44882
Valinor Capital Partners Offshore Master Fund, L.P.   Acquisition   of Converted   Shares   06/08/2015       116
Valinor Capital Partners Offshore Master Fund, L.P.   Acquisition   of Converted   Shares   06/08/2015      2310
Valinor Capital Partners Offshore Master Fund, L.P.   Acquisition   of Converted   Shares   06/08/2015       816
Valinor Capital Partners Offshore Master Fund, L.P.   Acquisition   of Converted   Shares   06/08/2015     12040
Valinor Capital Partners Offshore Master Fund, L.P.   Acquisition   of Converted   Shares   06/08/2015    109048
Valinor Capital Partners Offshore Master Fund, L.P.   Acquisition   of Converted   Shares   06/08/2015     75103
Valinor Capital Partners Offshore Master Fund, L.P.   Acquisition   of Converted   Shares   06/08/2015     60219
Valinor Capital Partners Offshore Master Fund, L.P.   Acquisition   of Converted   Shares   06/08/2015     72791
Valinor Capital Partners Offshore Master Fund, L.P.   BUY                                   07/01/2015    198232 $14.75
Valinor Capital Partners Offshore Master Fund, L.P.   BUY                                   10/01/2015     97287 $13.23
Valinor Capital Partners Offshore Master Fund, L.P.   SELL                                  11/02/2015     30697 $14.18
Valinor Capital Partners Offshore Master Fund, L.P.   BUY                                   12/01/2015     56163 $12.02
Valinor Capital Partners Offshore Master Fund, L.P.   BUY                                   01/04/2016     59892 $ 11.05
Valinor Capital Partners Offshore Master Fund, L.P.   BUY                                   01/28/2016     75900 $ 7.37
Valinor Capital Partners Offshore Master Fund, L.P.   BUY                                   01/28/2016     75300 $ 7.38
Valinor Capital Partners Offshore Master Fund, L.P.   BUY                                   01/29/2016     75400 $ 7.35
Valinor Capital Partners Offshore Master Fund, L.P.   BUY                                   01/29/2016     54200 $ 7.38
Valinor Capital Partners Offshore Master Fund, L.P.   BUY                                   01/29/2016     10800 $ 7.39
Valinor Capital Partners Offshore Master Fund, L.P.   BUY                                   01/29/2016     10400 $ 7.36
Valinor Capital Partners Offshore Master Fund, L.P.   BUY                                   01/29/2016     39600 $ 7.22
Valinor Capital Partners Offshore Master Fund, L.P.   BUY                                   01/29/2016     10600 $ 7.30
Valinor Capital Partners Offshore Master Fund, L.P.   BUY                                   01/29/2016     75800 $ 7.38
Valinor Capital Partners Offshore Master Fund, L.P.   BUY                                   01/29/2016     25500 $ 7.38
Valinor Capital Partners Offshore Master Fund, L.P.   BUY                                   01/29/2016     30700 $ 7.17
Valinor Capital Partners Offshore Master Fund, L.P.   BUY                                   02/01/2016     24900 $ 7.38
Valinor Capital Partners Offshore Master Fund, L.P.   SELL                                  02/04/2016     69900 $ 7.45
Valinor Capital Partners Offshore Master Fund, L.P.   SELL                                  02/04/2016    192459 $ 7.55
Valinor Capital Partners Offshore Master Fund, L.P.   SELL                                  02/04/2016     31500 $ 7.48
Valinor Capital Partners Offshore Master Fund, L.P.   SELL                                  02/04/2016     78200 $ 7.45
Valinor Capital Partners Offshore Master Fund, L.P.   SELL                                  02/04/2016     33900 $ 7.39
Valinor Capital Partners Offshore Master Fund, L.P.   SELL                                  02/04/2016     38641 $ 7.39
Valinor Capital Pai1ners Offshore Master Fund, L.P.   SELL                                  02/05/2016     17100 $ 7.05
Valinor Capital Partners Offshore Master Fund, L.P.   SELL                                  02/16/2016     24500 $ 7.37
Valinor Capital Partners Offshore Master Fund, L.P.   BUY                                   02/23/2016     89100 $ 8.86
Valinor Capital Partners Offshore Master Fund, L.P.   BUY                                   02/23/2016     54400 $ 8.78


                                                       Page 1 of 9
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Entity                                                  Transaction    Trade Date Qnty      Price
Valinor Capital Partners Offshore Master Fund, L.P .    BUY            02/23/2016     40600 $ 8.75
Valinor Capital Partners Offshore Master Fund , L.P .   BUY            02/23/2016      1000 $ 8.70
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            02/23/2016     26100 $ 8.82
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            02/23/2016     20000 $ 8.78
Valinor Capital Partners Offshore Master Fund , L.P.    BUY            02/23/2016     91900 $ 8.88
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            02/24/2016     33600 $ 8.29
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            02/24/2016    108700 $ 8.28
Valinor Capital Partners Offshore Master Fund, L.P .    BUY            02/24/2016    169000 $ 8.38
Valinor Capital Partners Offshore Master Fund, L.P .    BUY            02/24/2016     26700 $ 8.38
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            02/25/2016    190703 $ 8.45
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            02/25/2016     18100 $ 8.13
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            02/25/2016     18100 $ 8.19
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            02/25/2016     18100 $ 8.06
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            02/25/2016     18100 $ 8.32
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            02/25/2016     61497 $ 8.58
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            02/25/2016     18200 $ 8.46
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            03/16/2016    108600 $ 8.25
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            03/16/2016    159900 $ 8.38
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            03/16/2016     10800 $ 8.22
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            03/23/2016     78000 $ 8.21
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            03/23/2016     36200 $ 8.20
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            03/23/2016     13600 $ 8.29
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            03/23/2016     18100 $ 8.22
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            03/23/2016   208200 $ 8.10
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            03/23/2016    148177 $ 8.18
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            03/24/2016     51400 $ 8.12
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            03/24/2016    103000 $ 8.21
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            03/24/2016     51523 $ 8.33
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            03/28/2016     72400 $ 7.69
Valinor Capital Partners Offshore Master Fund, L.P .    BUY            03/28/2016     21400 $ 7.60
Valinor Capital Partners Offshore Master Fund, L.P .    BUY            03/28/2016      7200 $ 7.56
Valinor Capital Partners Offshore Master Fund, L.P .    BUY            03/28/2016     18100 $ 7.58
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            03/28/2016     36200 $ 7.79
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            03/28/2016     18100 $ 7.73
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            03/28/2016     18100 $ 7.78
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            03/28/2016     18100 $ 7.79
Valinor Capital Partners Offshore Master Fund , L.P.    BUY            03/28/2016     68058 $ 7.75
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            03/29/2016    170872 $ 7.87
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            03/29/2016      2300 $ 7.65
Valinor Capital Partners Offshore Master Fund, L.P .    BUY            03/29/2016       300 $ 7.53
Valinor Capital Partners Offshore Master Fund , L.P.    BUY            03/30/2016      3100 $ 8.03
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            04/01/2016     42342 $ 8.30
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            04/01/2016      8400 $ 8.02
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            04/01/2016     24827 $ 8.02
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            04/05/2016    122200 $ 7.86
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            04/05/2016     77981 $ 7.97
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            04/06/2016       600 $ 8.00
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            04/07/2016     70962 $ 7.99
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            04/07/2016     54200 $ 7.89
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            04/07/2016     54200 $ 7.85
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            04/07/2016     99000 $ 7.86
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            04/14/2016    188717 $ 7.39
Valinor Capital Partners Offshore Master Fund, L.P .    BUY            04/14/2016     27600 $ 7.35
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            04/14/2016     49700 $ 7.52


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Valinor Capital Partners Offshore Master Fund , L.P.    BUY            04/14/2016     64683 $ 7.48
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            04/15/2016     96400 $ 7.27
Valinor Capital Partners Offshore Master Fund, L.P .    BUY            04/15/2016   322752 $ 7.36
Valinor Capital Partners Offshore Master Fund, L.P .    BUY            04/15/2016     22048 $ 7.37
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            04/18/2016    162035 $ 7.53
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            04/18/2016     72700 $ 7.54
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            04/18/2016     17118 $ 7.54
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            04/19/2016    111680 $ 8.03
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            04/19/2016   214500 $ 8.10
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            04/19/2016     36400 $ 8. 17
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            04/19/2016   230283 $ 8.02
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            04/20/2016     57500 $ 8.23
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            04/20/2016     57537 $ 8.21
Valinor Capital Partners Offshore Master Fund , L.P .   BUY            04/25/2016     49500 $ 7.40
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            04/25/2016     29100 $ 7.45
Valinor Capital Partners Offshore Master Fund, L.P .    BUY            04/25/2016     55300 $ 7.43
Valinor Capital Partners Offshore Master Fund, L.P .    BUY            04/26/2016     23700 $ 7.52
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            04/26/2016     40933 $ 7.52
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            04/27/2016      1200 $ 7.51
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            04/27/2016      3300 $ 7.52
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            05/02/2016     59930 $ 7.90
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            05/03/2016    155200 $ 7.21
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            05/03/2016     18300 $ 7.07
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            05/03/2016     13200 $ 7.07
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            05/03/2016     10539 $ 7.08
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            05/03/2016     21900 $ 7. 16
Valinor Capital Partners Offshore Master Fund, LP.      BUY            05/03/2016     19304 $ 7.16
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            05/03/2016     41600 $ 7.14
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            05/03/2016     83296 $ 7.14
Valinor Capital Partners Offshore Master Fund , L.P .   BUY            05/03/2016     36500 $ 7.27
Valinor Capital Partners Offshore Master Fund, L.P .    BUY            05/03/2016     18200 $ 7.25
Valinor Capital Partners Offshore Master Fund , L.P.    BUY            05/03/2016     18200 $ 7.23
Valinor Capital Partners Offshore Master Fund , L.P.    BUY            05/03/2016     90900 $ 7.16
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            05/03/2016    157300 $ 7.21
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            05/03/2016      7800 $ 7.37
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            05/03/2016    153800 $ 7.17
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            05/03/2016    159400 $ 7.21
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            05/03/2016     42300 $ 7.10
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            05/03/2016     19610 $ 7.12
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            05/03/2016     42000 $ 7.15
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            05/03/2016      6800 $ 7.23
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            05/03/2016      1500 $ 7.23
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            05/03/2016     33700 $ 7.23
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            05/03/2016     42000 $ 7.15
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            05/03/2016     42000 $ 7.18
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            05/03/2016     42000 $ 7.15
Valinor Capital Partners Offshore Master Fund, L.P .    BUY            05/03/2016     42100 $ 7.22
Valinor Capital Partners Offshore Master Fund, L.P .    BUY            05/03/2016     42000 $ 7.15
Valinor Capital Partners Offshore Master Fund , L.P .   BUY            05/03/2016     42100 $ 7.18
Valinor Capital Partners Offshore Master Fund, L.P .    BUY            05/03/2016     42000 $ 7.15
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            05/03/2016     42100 $ 7.22
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            05/03/2016     42000 $ 7.15
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            05/03/2016     42100 $ 7.22
Valinor Capital Partners Offshore Master Fund, L.P.     BUY            05/04/2016     83000 $ 6.95


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Entity                                                Transaction                           Trade Date Qnty      Price
Valinor Capital Partners Offshore Master Fund, L.P.   BUY                                   05/04/2016     41600 $ 6.99
Valinor Capital Partners Offshore Master Fund, L.P.   BUY                                   05/04/2016     41500 $ 7.00
Valinor Capital Partners Offshore Master Fund, L.P.   BUY                                   05/04/2016     83400 $ 6.95
Valinor Capital Partners Offshore Master Fund, L.P.   BUY                                   05/04/2016     14600 $ 6.97
Valinor Capital Partners Offshore Master Fund, L.P.   BUY                                   05/04/2016     36500 $ 6.97
Valinor Capital Partners Offshore Master Fund, L.P.   BUY                                   05/04/2016     32300 $ 6.92
Valinor Capital Partners Offshore Master Fund, L.P.   BUY                                   05/04/2016     40800 $ 6.90
Valinor Capital Partners Offshore Master Fund, L.P.   BUY                                   05/04/2016     14200 $ 6.94
Valinor Capital Partners Offshore Master Fund, L.P.   BUY                                   05/04/2016     71500 $ 6.92
Valinor Capital Partners Offshore Master Fund, L.P.   BUY                                   05/05/2016    106723 $ 6.78
Valinor Capital Partners Offshore Master Fund, L.P.   BUY                                   05/05/2016    173500 $ 6.78
Valinor Capital Partners Offshore Master Fund, L.P.   BUY                                   05/06/2016     47100 $ 7.00
Valinor Capital Partners Offshore Master Fund, L.P.   BUY                                   05/06/2016     83600 $ 7.10
Valinor Capital Partners Offshore Master Fund, L.P.   BUY                                   05/06/2016     36500 $ 7.03
Valinor Capital Partners, L.P .                       SELL                                  12/11/2014    158900 $24.08
Valinor Capital Partners, L.P.                        BUY                                   12/11/2014    158900 $15.00
Valinor Capital Partners, L.P.                        Acquisition   of Converted   Shares   06/08/2015   353280
Valinor Capital Partners, L.P.                        Acquisition   of Converted   Shares   06/08/2015     88912
Valinor Capital Partners, L.P.                        Acquisition   of Converted   Shares   06/08/2015         2
Valinor Capital Partners, L.P.                        Acquisition   of Converted   Shares   06/08/2015  3232338
Valinor Capital Partners, L.P.                        Acquisition   of Converted   Shares   06/08/2015   514829
Valinor Capital Partners, L.P.                        Acquisition   of Converted   Shares   06/08/2015     99194
Valinor Capital Partners, L.P.                        Acquisition   of Converted   Shares   06/08/2015       114
Valinor Capital Partners, L.P.                        Acquisition   of Converted   Shares   06/08/2015      1714
Valinor Capital Partners, L.P.                        Acquisition   of Converted   Shares   06/08/2015     50572
Valinor Capital Partners, L.P.                        Acquisition   of Converted   Shares   06/08/2015     16748
Valinor Capital Partners, L.P.                        Acquisition   of Converted   Shares   06/08/2015      2040
Valinor Capital Partners, L.P .                       Acquisition   of Converted   Shares   06/08/2015        60
Valinor Capital Partners, L.P.                        Acquisition   of Converted   Shares   06/08/2015      1178
Valinor Capital Partners, L.P.                        Acquisition   of Converted   Shares   06/08/2015        90
Valinor Capital Partners, L.P .                       Acquisition   of Converted   Shares   06/08/2015       780
Valinor Capital Partners, L.P.                        Acquisition   of Converted   Shares   06/08/2015      4058
Valinor Capital Partners, L.P .                       Acquisition   of Converted   Shares   06/08/2015       414
Valinor Capital Partners, L.P.                        SELL                                  07/01/2015    198232 $14.75
Valinor Capital Partners, L.P.                        SELL                                  10/01/2015     97287 $13.23
Valinor Capital Partners, L.P.                        BUY                                   11/02/2015     30697 $14.18
Valinor Capital Partners, L.P.                        SELL                                  12/01/2015     56163 $12.02
Valinor Capital Partners, L.P.                        SELL                                  01/04/2016     59892 $ 11.05
Valinor Capital Partners, L.P.                        BUY                                   01/28/2016     29100 $ 7.37
Valinor Capital Partners, L.P.                        BUY                                   01/28/2016     28800 $ 7.38
Valinor Capital Partners, L.P.                        BUY                                   01/29/2016     28900 $ 7.35
Valinor Capital Partners, L.P.                        BUY                                   01/29/2016     20800 $ 7.38
Valinor Capital Partners, L.P.                        BUY                                   01/29/2016      4200 $ 7.39
Valinor Capital Partners, L.P.                        BUY                                   01/29/2016      3800 $ 7.36
Valinor Capital Partners, L.P.                        BUY                                   01/29/2016     15100 $ 7.22
Valinor Capital Partners, L.P.                        BUY                                   01/29/2016      4000 $ 7.30
Valinor Capital Partners, L.P .                       BUY                                   01/29/2016     29000 $ 7.38
Valinor Capital Partners, L.P .                       BUY                                   01/29/2016      9900 $ 7.38
Valinor Capital Partners, L.P.                        BUY                                   01/29/2016     11759 $ 7.17
Valinor Capital Partners, L.P.                        SELL                                  02/01/2016     24900 $ 7.38
Valinor Capital Partners, L.P .                       SELL                                  02/04/2016     26500 $ 7.45
Valinor Capital Partners, L.P.                        SELL                                  02/04/2016     72900 $ 7.55
Valinor Capital Partners, L.P .                       SELL                                  02/04/2016     11900 $ 7.48
Valinor Capital Partners, L.P.                        SELL                                  02/04/2016     29600 $ 7.45


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Valinor Capital Partners, L.P.        SELL                   02/04/2016     12800 $ 7.39
Valinor Capital Partners, L.P.        SELL                   02/04/2016     14659 $ 7.39
Valinor Capital Partners, L.P.        SELL                   02/05/20 16     6553 $ 7.05
Valinor Capital Partners, L.P.        SELL                   02/16/2016      8447 $ 7.37
Valinor Capital Partners, L.P.        BUY                    02/23/2016     33600 $ 8.86
Valinor Capital Part ners, L.P.        BUY                   02/23/20 16    20600 $ 8.78
Valinor Capital Partners, L.P.         BUY                   02/23/2016     15400 $ 8.75
Valinor Capital Partners, L.P.         BUY                   02/23/2016       400 $ 8.70
Valinor Capital Partners, L.P.         BUY                   02/23/2016      9800 $ 8.82
Valinor Capital Partners, L.P.         BUY                   02/23/2016      7600 $ 8.78
Valinor Capital Partners, L.P.         BUY                   02/23/2016     34678 $ 8.88
Valinor Capital Partners, L.P.         BUY                   02/24/2016     12700 $ 8.29
Valinor Capital Partners, L.P.         BUY                   02/24/20 16    41300 $ 8.28
Valinor Capital Partners, L.P.         BUY                   02/24/2016     64200 $ 8.38
Valinor Capital Partners, L.P.         BUY                   02/24/2016     101 00 $ 8.38
Valinor Capital Partners, L.P.         BUY                   02/25/2016     72400 $ 8.45
Valinor Capital Partners, L.P.         BUY                   02/25/2016      6900 $ 8. 13
Valinor Capital Partners, L.P.         BUY                   02/25/20 16     6900 $ 8. 19
Valinor Capital Partners, L.P.         BUY                   02/25/2016      6900 $ 8.06
Valinor Capital Partners, L.P.         BUY                   02/25/20 16     6900 $ 8.32
Valinor Capital Partners, L.P.         BUY                   02/25/20 16    23400 $ 8.58
Valinor Capital Partners, L.P.         BUY                   02/25/2016      6800 $ 8.46
Valinor Capital Partners, L.P.         BUY                   03/16/2016     41400 $ 8.25
Valinor Capital Partners, L.P.         BUY                   03/16/2016     60900 $ 8.38
Valinor Capital Partners, L.P.         BUY                   03/16/2016      4000 $ 8.22
Valinor Capital Partners, L.P.         BUY                   03/23/20 16    29700 $ 8.21
Valinor Capital Partners, L.P.         BUY                   03/23/2016     13800 $ 8.20
Valinor Capital Partners, L.P.         BUY                   03/23/20 16     5200 $ 8.29
Valinor Capital Partners, L.P.         BUY                   03/23/2016      6900 $ 8.22
Valinor Capital Partners, L.P.         BUY                   03/23/2016     79200 $ 8.10
Valinor Capital Partners, L.P.         BUY                   03/23/2016     56400 $ 8.1 8
Valinor Capital Partners, L.P.         BUY                   03/24/2016     19600 $ 8.1 2
Valinor Capital Partners, L.P.         BUY                   03/24/2016     39200 $ 8.2 1
Valinor Capital Partners, L.P.         BUY                   03/24/2016     19500 $ 8.33
Valinor Capital Partners, L.P.         BUY                   03/28/2016     27600 $ 7.69
Valinor Capital Partners, L.P.         BUY                   03/28/20 16     8100 $ 7.60
Valinor Capital Partners, L.P.         BUY                   03/28/20 16     2800 $ 7.56
Valinor Capital Partners, L.P.         BUY                   03/28/20 16     6900 $ 7.58
Valinor Capital Partners, L.P.        BUY                    03/28/2016     13800 $ 7.79
Valinor Capital Partners, L.P.        BUY                    03/28/2016      6900 $ 7.73
Valinor Capital Partners, L.P.        BUY                    03/28/20 16     6900 $ 7.78
Valinor Capital Partners, L.P.        BUY                    03/28/2016      6900 $ 7.79
Valinor Capital Partners, L.P.         BUY                   03/28/2016     25700 $ 7.75
Valinor Capital Partners, L.P.         BUY                   03/29/20 16    65100 $ 7.87
Valinor Capital Partners, L.P.         BUY                   03/29/20 16      900 $ 7.65
Valinor Capital Partners, L.P.         BUY                   03/29/2016       100 $ 7.53
Valinor Capital Partners, L.P.         BUY                   03/30/2016      11 00 $ 8.03
Valinor Capital Partners, L.P.         SELL                  04/01 /20 16   42342 $ 8.30
Valinor Capital Partners, L.P.         BUY                   04/05/20 16    53300 $ 7.86
Valinor Capital Partners, L.P.         BUY                   04/05/20 16    34000 $ 7.97
Valinor Capital Partners, L.P.         BUY                   04/06/20 16      600 $ 8.00
Valinor Capital Partners, L.P.         BUY                   04/07/20 16    26400 $ 7.99
Valinor Capital Partners, L.P.        BUY                    04/07/2016     20400 $ 7.89
Valinor Capital Partners, L.P.        BUY                    04/07/2016     20400 $ 7.85


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Entity                                 Transaction           Trade Date Qnty      Price
Valinor Capital Partners, L.P.         BUY                   04/07/2016     36999 $ 7.86
Valinor Capital Partners, L.P.         BUY                   04/14/2016     70800 $ 7.39
Valinor Capital Partners, L.P.         BUY                   04/14/2016     10400 $ 7.35
Valinor Capital Partners, L.P.         BUY                   04/14/2016     18700 $ 7.52
Valinor Capital Partners, L.P.         BUY                   04/14/2016     24189 $ 7.48
Valinor Capital Partners, L.P.         BUY                   04/15/2016     36200 $ 7.27
Valinor Capital Partners, L.P.         BUY                   04/15/2016    121100 $ 7.36
Valinor Capital Partners, L.P .        BUY                   04/15/2016      8152 $ 7.37
Valinor Capital Partners , L.P .       BUY                   04/18/2016     60800 $ 7.53
Valinor Capital Partners, L.P.         BUY                   04/18/2016     27300 $ 7.54
Valinor Capital Partners, L.P.         BUY                   04/18/2016      6300 $ 7.54
Valinor Capital Partners, L.P.         BUY                   04/19/2016     41900 $ 8.03
Valinor Capital Partners , L.P.        BUY                   04/19/2016     80500 $ 8.10
Valinor Capital Partners , L.P.        BUY                   04/19/2016     13600 $ 8.17
Valinor Capital Partners, L.P.         BUY                   04/19/2016     86400 $ 8.02
Valinor Capital Partners, L.P.         BUY                   04/20/2016     21600 $ 8.23
Valinor Capital Partners, L.P.         BUY                   04/20/2016     21600 $ 8.21
Valinor Capital Partners, L.P.         BUY                   04/25/2016     18500 $ 7.40
Valinor Capital Partners, L.P.         BUY                   04/25/2016     10900 $ 7.45
Valinor Capital Partners, L.P.         BUY                   04/25/2016     20800 $ 7.43
Valinor Capital Partners, L.P.         BUY                   04/26/2016      8900 $ 7.52
Valinor Capital Partners, L.P .        BUY                   04/26/2016     15300 $ 7.52
Valinor Capital Partners, L.P.         BUY                   04/27/2016       410 $ 7.51
Valinor Capital Partners, L.P.         BUY                   04/27/2016      1239 $ 7.52
Valinor Capital Partners, L.P.         SELL                  05/02/2016     59930 $ 7.90
Valinor Capital Partners, L.P .        BUY                   05/03/2016     57400 $ 7.21
Valinor Capital Partners, L.P.         BUY                   05/03/2016      6700 $ 7.07
Valinor Capital Partners, L.P.         BUY                   05/03/2016      4800 $ 7.07
Valinor Capital Partners, L.P.         BUY                   05/03/2016      4000 $ 7.08
Valinor Capital Partners, L.P.         BUY                   05/03/2016      8100 $ 7.16
Valinor Capital Partners, L.P.         BUY                   05/03/2016      7100 $ 7.16
Valinor Capital Partners, L.P.         BUY                   05/03/2016     15400 $ 7.14
Valinor Capital Partners, L.P.         BUY                   05/03/2016     30800 $ 7.14
Valinor Capital Partners, L.P.         BUY                   05/03/2016     13500 $ 7.27
Valinor Capital Partners , L.P.        BUY                   05/03/2016      6800 $ 7.25
Valinor Capital Partners, L.P .        BUY                   05/03/2016      6800 $ 7.23
Valinor Capital Partners, L.P.         BUY                   05/03/2016     33500 $ 7.16
Valinor Capital Partners, L.P.         BUY                   05/03/2016     58200 $ 7.21
Valinor Capital Partners, L.P.         BUY                   05/03/2016      2900 $ 7.37
Valinor Capital Partners, L.P.         BUY                   05/03/2016     56900 $ 7.17
Valinor Capital Partners, L.P.         BUY                   05/03/2016     59000 $ 7.21
Valinor Capital Partners, L.P.         BUY                   05/03/2016     15700 $ 7.10
Valinor Capital Partners, L.P.         BUY                   05/03/2016      7200 $ 7.12
Valinor Capital Partners, L.P.         BUY                   05/03/2016     15600 $ 7 .15
Valinor Capital Partners, L.P.         BUY                   05/03/2016      2500 $ 7.23
Valinor Capital Partners, L.P.         BUY                   05/03/2016       500 $ 7.23
Valinor Capital Partners, L.P.         BUY                   05/03/2016     12500 $ 7.23
Valinor Capital Partners, L.P.         BUY                   05/03/2016     15600 $ 7.15
Valinor Capital Partners, L.P.         BUY                   05/03/2016     15500 $ 7.18
Valinor Capital Partners, L.P.         BUY                   05/03/2016     15600 $ 7.15
Valinor Capital Partners, L.P.         BUY                   05/03/2016     15500 $ 7.22
Valinor Capital Partners, L.P.         BUY                   05/03/2016     15600 $ 7.15
Valinor Capital Partners, L.P.         BUY                   05/03/2016     15500 $ 7.18
Valinor Capital Partners, L.P.         BUY                   05/03/2016     15600 $ 7.15


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Valinor Capital Partners, L.P .       BUY                               05/03/2016     15500 $ 7.22
Valinor Capital Partners, L.P .       BUY                               05/03/2016     15600 $ 7. 15
Valinor Capital Partners, L.P .       BUY                               05/03/2016     15500 $ 7.22
Valinor Capital Partners, L.P .       BUY                               05/04/2016     30700 $ 6.95
Valinor Capital Partners, L.P .       BUY                               05/04/2016     15400 $ 6.99
Valinor Capital Partners, L.P.        BUY                               05/04/2016     15300 $ 7 .00
Valinor Capital Partners, L.P.        BUY                               05/04/2016     30900 $ 6.95
Valinor Capital Partners, L.P.        BUY                               05/04/2016      5400 $ 6.97
Valinor Capital Partners , L.P.       BUY                               05/04/2016     13500 $ 6.97
Valinor Capital Partners, L.P.        BUY                               05/04/2016     11900 $ 6.92
Valinor Capital Partners, L.P .       BUY                               05/04/2016     15100 $ 6.90
Valinor Capital Partners, L.P .       BUY                               05/04/2016      5200 $ 6.94
Valinor Capital Partners, L.P.        BUY                               05/04/2016     26563 $ 6.92
Valinor Capital Partners, L.P .       BUY                               05/05/2016     39500 $ 6.78
Valinor Capital Partners, L.P .       BUY                               05/05/2016     64100 $ 6.78
Valinor Capital Partners, L.P .       BUY                               05/06/2016     17400 $ 7.00
Valinor Capital Partners, L.P .       BUY                               05/06/2016     31000 $ 7 . 10
Valinor Capital Partners, L.P .       BUY                               05/06/2016     13500 $ 7.03
Valinor SPY VI, LLC                   Acquisition of Converted Shares   12/11/2014    353280
Valinor SPY VI, LLC                   Acquisition of Converted Shares   12/11/2014      1714
Valinor SPY VI, LLC                   Acquisition of Converted Shares   12/11/2014      1840
Valinor SPY VI, LLC                   Acquisition of Converted Shares   12/11/2014       414
Valinor SPY VI, LLC                   Acquisition of Converted Shares   12/11/2014     99194
Valinor SPY VI, LLC                   Acquisition of Converted Shares   12/11/2014    567780
Valinor SPY VI, LLC                   Acquisition of Converted Shares   12/11/2014         2
Valinor SPY VI, LLC                   Acquisition of Converted Shares   12/11/2014      2040
Valinor SPY VI, LLC                   Acquisition of Converted Shares   12/11/2014       780
Valinor SPY VI, LLC                   Acquisition of Converted Shares   12/11/2014  3367660
Valinor SPY VI, LLC                   Acquisition of Converted Shares   12/11/2014     88912
Valinor SPY VI, LLC                   Acquisition of Converted Shares   12/11/2014     18000
Valinor SPY VI , LLC                  Acquisition of Converted Shares   12/11/2014     16748
Valinor SPY VI, LLC                   Acquisition of Converted Shares   12/11/2014      1178
Valinor SPY VI, LLC                   Acquisition of Converted Shares   12/11/2014     50572
Valinor SPY VI, LLC                   Acquisition of Converted Shares   12/11/2014      4058
Valinor SPY VI, LLC                   Acquisition of Converted Shares   12/11/2014       114
Valinor SPY VI, LLC                   Acquisition of Converted Shares   12/11/2014        90
Valinor SPY VI, LLC                   Acquisition of Converted Shares   12/11/2014        60
Valinor SPY VI , LLC                  Acquisition of Converted Shares   12/11/2014    733464
Valinor SPY VI , LLC                  Acquisition of Converted Shares   12/11/2014         2
Valinor SPY VI, LLC                   Acquisition of Converted Shares   12/11/2014      5000
Valinor SPY VI, LLC                   Acquisition of Converted Shares   12/11/2014     26234
Valinor SPY VI, LLC                   Acquisition of Converted Shares   12/11/2014       816
Valinor SPY VI, LLC                   Acquisition of Converted Shares   12/11/2014      1652
Valinor SPY VI, LLC                   Acquisition of Converted Shares   12/11/2014    205940
Valinor SPY VI , LLC                  Acquisition of Converted Shares   12/11/2014      7368
Valinor SPY VI , LLC                  Acquisition of Converted Shares   12/11/2014   1207338
Valinor SPY VI, LLC                   Acquisition of Converted Shares   12/11/2014      9284
Valinor SPY VI , LLC                  Acquisition of Converted Shares   12/11/2014      8630
Valinor SPY VI, LLC                   Acquisition of Converted Shares   12/11/2014      2310
Valinor SPY VI, LLC                   Acquisition of Converted Shares   12/11/2014    166806
Valinor SPY VI, LLC                   Acquisition of Converted Shares   12/11/2014  6845190
Valinor SPV VI, LLC                   Acquisition of Converted Shares   12/11/2014         2
Valinor SPY VI, LLC                   Acquisition of Converted Shares   12/11/2014     12040
Valinor SPY VI, LLC                   Acquisition of Converted Shares   12/11/2014    109048


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          Case 3:16-cv-02627-WHA Document 401 Filed 09/24/18 Page 21 of 51



Entity                               Transaction                         Trade Date Qnty        Price
Valinor SPY VI, LLC                  Acquisition of Converted Shares     12/1 1/20 14   44882
Valinor SPY VI, LLC                  Acquisition of Converted Shares     12/11/20 14    16152
Valinor SPY VI, LLC                  Acquisition of Converted Shares     12/11/2014    421024
Valinor SPY VI, LLC                  Acquisition of Converted Shares     12/11/2014        116
Yalinor SPY VI, LLC                  Acquisition of Converted Shares     12/11/20 14          2
Valinor SPY VI, LLC                  SELL                                01/02/20 15   122740 $ 20.83
Valinor SPY VI, LLC                  BUY                                 01/02/20 15   122740 $ 20.83
Valinor SPY VI, LLC                  BUY                                 02/02/2015     47637 $ 16.10
Valinor SPY VI, LLC                  SELL                                02/02/2015     47637 $16.10
Valinor SPY VI, LLC                  SELL                                04/01/2015     60219 $ 18. 14
Valinor SPY VI, LLC                  BUY                                 04/01/2015     602 19 $ 18. 14
Valinor SPY VI, LLC                  SELL                                06/01 /2015    72791 $ 19.04
Valinor SPY VI, LLC                  BUY                                 06/01 /20 15   72791 $19.04
Valinor SPY VI, LLC                  Disposition of Converted Shares     06/08/20 15   353280
Valinor SPY VI, LLC                  Disposition of Converted Shares     06/08/2015     88912
Valinor SPY VI, LLC                  Disposition of Converted Shares     06/08/20 15    99194
Valinor SPY VI, LLC                  Disposition of Converted Shares     06/08/20 15          2
Valinor SPY VI, LLC                  Disposition of Converted Shares     06/08/20 15  3232338
Valinor SPY VI, LLC                  Disposition of Converted Shares     06/08/20 15   514829
Valinor SPY VI, LLC                  Disposition of Converted Shares     06/08/2015     50572
Valinor SPY VI, LLC                  Disposition of Converted Shares     06/08/2015        114
Valinor SPY VI, LLC                  Disposition of Converted Shares     06/08/2015       171 4
Valinor SPY VI, LLC                  Disposition of Converted Shares     06/08/20 15     2040
Valinor SPY VI, LLC                  Disposition of Converted Shares     06/08/2015     16748
Valinor SPY VI, LLC                  Disposition of Converted Shares     06/08/2015         90
Valinor SPY VI, LLC                  Disposition of Converted Shares     06/08/20 15        60
Valinor SPY VI, LLC                  Disposition of Converted Shares     06/08/20 15      1178
Valinor SPY VI, LLC                  Disposition of Converted Shares     06/08/20 15       414
Valinor SPY VI, LLC                  Disposition of Converted Shares     06/08/20 15       780
Valinor SPY VI, LLC                  Disposition of Converted Shares     06/08/20 15     4058
Valinor SPY VI, LLC                  Disposition of Converted Shares     06/08/20 15   733464
Valinor SPY VI, LLC                  Disposition of Converted Shares     06/08/20 15   205940
Valinor SPY VI, LLC                  Disposition of Converted Shares     06/08/2015    166806
Valinor SPY VI, LLC                  Disposition of Converted Shares     06/08/2015   6845 190
Valinor SPY VI, LLC                  Disposition of Converted Shares     06/08/2015      7368
Valinor SPY VI, LLC                  Disposition of Converted Shares     06/08/20 15    26234
Valinor SPY VI, LLC                  Disposition of Converted Shares     06/08/20 15          2
Valinor SPY VI, LLC                  Disposition of Converted Shares     06/08/20 15   42 1024
Valinor SPY VI, LLC                  Disposition of Converted Shares     06/08/2015           2
Valinor SPY VI, LLC                  Disposition of Converted Shares     06/08/2015           2
Valinor SPY VI, LLC                  Disposition of Conve rted S hares   06/08/2015   1207338
Valinor SPY VI, LLC                  Disposition of Converted Shares     06/08/20 15     5000
Valinor SPY VI, LLC                  Disposition of Converted Shares     06/08/20 15     9284
Valinor SPY VI, LLC                  Disposition of Converted Shares     06/08/20 15    44882
Valinor SPY VI, LLC                  Disposition of Converted Shares     06/08/20 15    161 52
Valinor SPY VI, LLC                  Disposition of Converted Shares     06/08/2015       1652
Valinor SPY VI, LLC                  Disposition of Converted Shares     06/08/20 15     8630
Yalinor SPY VI, LLC                  Disposition of Converted Shares     06/08/20 15       11 6
Valinor SPY VI, LLC                  Disposition of Converted Shares     06/08/20 15       8 16
Valinor SPY VI, LLC                  Disposition of Converted Shares     06/08/20 15   109048
Valinor SPY VI, LLC                  Disposition of Converted Shares     06/08/20 15     2310
Valinor SPY VI, LLC                  Disposition of Converted Shares     06/08/2015     12040
Valinor SPY VI, LLC                  Disposition of Converted Shares     06/08/20 15    602 19
Valinor SPY VI, LLC                  Disposition of Converted Shares     06/08/20 15    72791


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Entity                              Transaction                       Trade Date Qnt       Price
Valinor SPY VI, LLC                 Dis osition of Converted Shares   06/08/2015     75103




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                       Exclusion Cover Page
Case Name: LendingClub Securities Litigation

Case Code: LBS

Exclusion Deadline: June 25, 2018 (Received Date)

Name of Person Filing Exclusion: Alger Entities
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,
                                                Richard A. Bodnar            1251 Avenue of the Americas
          Lowenstein                            Counsel                      New York, New York 10020
          Sandler                                                            T: 973.422.6476
                                                                             F: 973.422.6477
                                                                             E: rbodnar@lowenstein.com



    June 22, 2018

    VIA OVERNIGHT MAIL, FEDEX, AND EMAIL


    LendingClub Securities Litigation
    Claims Administrator
    EXCLUSIONS
    c/o Gilardi & Co. LLC
    3301 Kerner Blvd.
    San Rafael, CA 94901

    Re:    In re LendingClub Securities Litigation, Case No. 3:16-cv-02627-WHA (N.D. Cal.)
           Exclusion Request of the Alger Entities

    Dear Claims Administrator:

    This firm represents the Alger Entities (defined herein). Pursuant to the Notice of Pendency and
    Proposed Settlement of Class Action, approved by the Northern District of California in relation
    to the above captioned matter (the "Notice") the Alger Entities, defined herein hereby request
    to be excluded from the Class and do not wish to participate in the settlement in In re
    LendingC!ub Securities Litigation, Case No. 3:16-cv-02627-WHA (N.D. Cal.). For the
    avoidance of doubt, each and -every one of the Alger Entities defined herein hereby requests to
    be excluded from the Class and do not wish to pa11icipate in the settlement in In re LendingC!ub
    Securities Litigation, Case, No. 3:16-cv-02627-WHA (N.D . Cal.).

    The Alger Entities are represented by counsel and have filed an independent action against
    certain class defendants. To contact the Alger Entities, any and all correspondence should be
    directed to:

    Lawrence M. Rolnick
    Marc B. Kramer
    Richard A. Bodnar
    Lowenstein Sandler LLP
    1251 Avenue of the Americas
    New York, NY 10020
    lrolnick@lowenstein.com
    mkramer@lowenstein.com
    rbodnar@lowenstein.com
    T: 973.597.2468
    Fax: 973.597.2469




    NEW YORK        PALO ALTO    NEW JERSEY    UTAH       WASHINGTON, D.C.               Lowenstein Sandler LLP
         Case 3:16-cv-02627-WHA Document 401 Filed 09/24/18 Page 26 of 51
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    Pursuant to the Notice, the above information shall also be considered the contact information
    for the Alger Entities. This exclusion request is being signed by Richard A. Bodnar, an attorney
    at Lowenstein Sandler LLP representing the Alger Entities, with Mr. Bodnar acting as authorized
    representative of the Alger Entities for purposes of this exclusion request.

    The trade data requested by the Notice, Section 13, is annexed hereto. We note that for many of
    the Alger Entities, they are Series or Sub-funds of an 'umbrella' entity. While the trades shown
    are shown at the legally cognizable Series or Sub-fund level, for the avoidance of all doubt, the
    umbrella entities are also included herein.

    The Alger Entities are:
    Fred Alger Investment Management, Inc.;
    The Alger Funds;
    The Alger Funds II;
    The Alger Institutional Funds;
    Alger SICA V;
    The Alger Portfolios;
    Alger Associates, Inc.;
    Alger American Asset Growth Fund, a Sub-Fund of Alger SICAV;
    Alger Capital Appreciation Fund, a Series of The Alger Funds;
    Alger Capital Appreciation Institutional Fund, a Series of The Alger Institutional Funds;
    Alger Capital Appreciation Portfolio, a Series of The Alger Portfolios;··
    Alger Collective Trust Capital Appreciation Series;
    Alger Dynamic Return Fund, LLC;
    Alger Dynamic Opportunities Fund, a Series of The Alger Funds II;
    Alger Large Cap Growth Portfolio, a Series of The Alger Portfolios;
    Alger Mid Cap Growth Fund, a Series of The Alger Funds;
    Alger Mid Cap Growth Institutional Fund, a Series of The Alger Institutional Funds;
    Alger Mid Cap Growth Portfolio, a Series of The Alger Portfolios;
    Alger Dynamic Opportunities Fund, a Sub-Fund of Alger SICAV;
    Alger Small Cap Growth Fund, a Series of The Alger Funds;
    Alger Small Cap Growth Institutional Fund, a Series of The Alger Institutional Funds;
    Alger Small Cap Growth Portfolio, a Series of The Alger Portfolios;
    Alger SMid Cap Focus Fund, a Series of The Alger Funds;
    Alger SMid Cap Focus Portfolio, a Series of The Alger Portfolios;
    Alger Spectra Fund, a Series of The Alger Funds II;
    Brisson Fund;
    Carpenters Pension Trust Fund for N011hem California;
    Carpenters Annuity Trust Fund for Northern California;
    Kaiser Foundation Hospitals;
    Kaiser Permanente Group Trust;
    The Kem Family Foundation, Inc.;
    Laborer's Local 57 Industrial Pension Fund of Philadelphia, PA;
    Oklahoma Firefighters Pension and Retirement Fund;


     Lowenstein
     Sandler
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Philadelphia Gas Works Pension Plan;
Purdue Research Foundation;
Steelworkers Pension Trust;
Teamsters Pension Trust Fund of Philadelphia and Vicinity;
Wichita Retirement Systems;
The Lutheran Foundation;
UFCW Local 1262 and Employers Pension Fund;
Waterfront Employers - ILA Pension Fund.


Respectfully Submitted,



                                        . .....
Richard A. Bodnar
Lowenstein Sandler LLP
Attorneys For, and Authorized Representative of, the Alger Entities

Enclosure




 Lowenstein
 Sandler
                        Case 3:16-cv-02627-WHA Document 401 Filed 09/24/18 Page 28 of 51



Name                                                                          Date           Trans.   Qnty         Price
Alger American Asset Growth Fund,   a Sub-Fund   of Alger SICAV                12/11/2014    BUY          1,550       15.00
Alger American Asset Growth Fund,   a Sub-Fund   of Alger SICAV                12/11/2014    SELL         1,550       22.53
Alger American Asset Growth Fund,   a Sub-Fund   of Alger SICAV                   8/4/2015   BUY         92,850       13.75
Alger American Asset Growth Fund,   a Sub-Fund   of Alger SICA V                8/10/2015    BUY         11,850       14.23
Alger American Asset Growth Fund,   a Sub-Fund   of Alger SICA V                8/10/2015    BUY          3,050       14.28
Alger American Asset Growth Fund,   a Sub-Fund   of Alger SICA V                8/11/2015    BUY          3,750       14.04
Alger American Asset Growth Fund,   a Sub-Fund   of Alger SICA V                8/12/2015    BUY         25 ,650      13.97
Alger American Asset Growth Fund,   a Sub-Fund   of Alger SICA V                9/16/2015    SELL         3,100       13.02
Alger American Asset Growth Fund,   a Sub-Fund   of Alger SICA V                9/25/2015    SELL        20,100       13.22
Alger American Asset Growth Fund,   a Sub-Fund   of Alger SICAV                 9/28/2015    SELL        18,350       13 .02
Alger American Asset Growth Fund,   a Sub-Fund   of Alger SICA V                9/30/2015    SELL        95,600       13.16
Alger American Asset Growth Fund,   a Sub-Fund   of Alger SICA V               10/29/2015    BUY         44,950       13.57
Alger American Asset Growth Fund,   a Sub-Fund   of Alger SICAV                10/29/2015    BUY         30,049       13.45
Alger American Asset Growth Fund,   a Sub-Fund   of Alger SICAV                11/24/2015    SELL        26,150       12.08
Alger American Asset Growth Fund,   a Sub-Fund   of Alger SICA V                12/7/2015    BUY          1,900       13.14
Alger American Asset Growth Fund,   a Sub-Fund   of Alger SICA V                12/9/2015    BUY          3,500       13.95
Alger American Asset Growth Fund,   a Sub-Fund   of Alger SICAV                 12/9/2015    BUY          3,850       14.02
Alger American Asset Growth Fund,   a Sub-Fund   of Alger SICA V               12/11/2015    BUY         16,100       13.79
Alger American Asset Growth Fund,   a Sub-Fund   of Alger SICA V               12/31/2015    BUY          9,050       10.99
Alger American Asset Growth Fund,   a Sub-Fund   of Alger SICA V                  1/5/2016   BUY         20,500       11.05
Alger American Asset Growth Fund,   a Sub-Fund   of Alger SICA V                 2/5/2016    SELL        14,000        7.01
Alger American Asset Growth Fund,   a Sub-Fund   of Alger SICA V                2/17/2016    BUY          1, 100       8.24
AJger American Asset Growth Fund,   a Sub-Fund   of Alger SICA V                2/19/2016    BUY          7,200        8.90
Alger American Asset Growth Fund,   a Sub-Fund   of Alger SICA V                3/10/2016    SELL        13,200        9.09
Alger American Asset Growth Fund,   a Sub-Fund   of Alger SICAV                 3/22/2016    BUY             650       8.43
Alger Associates, Inc.                                                           5/6/2015    BUY             466      18.45
Alger Associates, Inc.                                                           5/8/2015    SELL            159      16.44
Alger Associates, Inc.                                                          5/27/2015    BUY             152      18.88
Alger Associates, Inc.                                                           6/8/2015    BUY             155      18.01
Alger Associates, Inc.                                                          6/10/2015    BUY             322      17.37
Alger Associates, Inc.                                                           7/7/2015    SELL             70      13.93
Alger Associates, Inc.                                                           8/4/2015    SELL            111      13.56

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Name                                                                              Date           Trans.   Qnty         Price
Alger Associates, Inc.                                                                8/4/2015   BUY             530      13 .75
Alger Associates, Inc.                                                                8/5/2015   BUY             100      14.62
Alger Associates, Inc.                                                                8/5/2015   BUY             100      14.52
Alger Associates, Inc.                                                                8/5/2015   BUY             287      14.28
Alger Associates, Inc.                                                              9/25/2015    SELL            721      13 .22
Alger Associates, Inc.                                                              9/28/2015    SELL            170      13 .02
Alger Associates, Inc.                                                             10/23/2015    SELL            290      14.32
Alger Associates, Inc.                                                             10/29/2015    BUY             179      13.57
Alger Associates, Inc.                                                             10/29/2015    BUY             118      13.45
Alger Associates, Inc.                                                             11/24/2015    SELL            241      12.08
Alger Associates, Inc.                                                              12/9/2015    BUY              64      14.02
Alger Associates, Inc.                                                             12/11/2015    BUY             158      13.82
Alger Associates, Inc.                                                              2/18/2016    SELL            331       8.34
Alger Associates, Inc.                                                               3/8/2016    SELL             14       9.07
Alger Capital Appreciation Fund, a Series   of The   Alger Funds                     6/8/2015    BUY        119,500       18.01
Alger Capital Appreciation Fund, a Series   of The   Alger Funds                    6/10/2015    BUY        128,100       17.37
Alger Capital Appreciation Fund, a Series   of The   Alger Funds                      8/4/2015   SELL        43,100       13.56
Alger Capital Appreciation Fund, a Series   of The   Alger Funds                      8/5/2015   BUY         69,500       14.41
Alger Capital Appreciation Fund, a Series   of The   Alger Funds                    8/10/2015    BUY         71,700       14.23
Alger Capital Appreciation Fund, a Series   of The   Alger Funds                    8/10/2015    BUY         18,500       14.28
Alger Capital Appreciation Fund, a Series   of The   Alger Funds                    8/11/2015    BUY         22,700       14.04
Alger Capital Appreciation Fund, a Series   of The   Alger Funds                    8/12/2015    BUY         96, 100      13 .97
Alger Capital Appreciation Fund, a Series   of The   Alger Funds                    9/25/2015    SELL        61 ,300      13.22
Alger Capital Appreciation Fund, a Series   of The   Alger Funds                    9/28/2015    SELL        72,300       13.02
Alger Capital Appreciation Fund, a Series   of The   Alger Funds                   10/29/2015    BUY         31,400       13.57
Alger Capital Appreciation Fund, a Series   of The   Alger Funds                   10/29/2015    BUY         20,900       13.45
Alger Capital Appreciation Fund, a Series   of The   Alger Funds                   10/30/2015    SELL       335,700       14.13
Alger Capital Appreciation Fund, a Series   of The   Alger Funds                   11/24/2015    SELL        94,045       12.08
Alger Capital Appreciation Fund, a Series   of The   Alger Funds                    12/7/2015    BUY        129,269       13.33
Alger Capital Appreciation Fund, a Series   of The   Alger Funds                    12/8/2015    BUY         41,500       13.25
Alger Capital Appreciation Fund, a Series   of The   Alger Funds                    12/9/2015    BUY          8,900       13 .95
Alger Capital Appreciation Fund, a Series   of The   Alger Funds                    12/9/2015    BUY         19,900       14.02

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Name                                                                                         Date          Trans.   Qnty       Price
Alger Capital Appreciation Fund, a Series of The Alger Funds                                  12/11/2015   BUY         66,100     13.79
Alger Capital Appreciation Institutional Fund, a Series of The Alger Institutional   Funds     6/23/2015   BUY        170,500     16.53
Alger Capital Appreciation Institutional Fund, a Series of The Alger Institutional   Funds     6/24/2015   BUY        128,600     16.37
Alger Capital Appreciation Institutional Fund, a Series of The Alger Institutional   Funds     6/25/2015   BUY        154,500     15.87
Alger Capital Appreciation Institutional Fund, a Series of The Alger Institutional   Funds      8/4/2015   SELL        67,900     13.56
Alger Capital Appreciation Institutional Fund, a Series of The Alger Institutional   Funds      8/5/2015   BUY        105,100     14.41
Alger Capital Appreciation Institutional Fund, a Series of The Alger Institutional   Funds     8/10/2015   BUY        105,100     14.23
Alger Capital Appreciation Institutional Fund, a Series of The Alger Institutional   Funds     8/10/2015   BUY         27,000     14.28
Alger Capital Appreciation Institutional Fund, a Series of The Alger Institutional   Funds     8/11/2015   BUY         33,300     14.04
Alger Capital Appreciation Institutional Fund, a Series of The Alger Institutional   Funds     8/12/2015   BUY        142,500     13.97
Alger Capital Appreciation Institutional Fund, a Series of The Alger Institutional   Funds     9/25/2015   SELL        96,200     13.22
Alger Capital Appreciation Institutional Fund, a Series of The Alger Institutional   Funds     9/28/2015   SELL       108,500     13.02
Alger Capital Appreciation Institutional Fund, a Series of The Alger Institutional   Funds    10/29/2015   BUY         49,100     13.57
Alger Capital Appreciation Institutional Fund, a Series of The Alger Institutional   Funds    10/29/2015   BUY         32,700     13.45
Alger Capital Appreciation Institutional Fund, a Series of The Alger Institutional   Funds    10/30/2015   SELL       505,900     14.13
Alger Capital Appreciation Institutional Fund, a Series of The Alger Institutional   Funds    11/24/2015   SELL       141,855     12.08
Alger Capital Appreciation Institutional Fund, a Series of The Alger Institutional   Funds     12/7/2015   BUY        193,300     13.33
Alger Capital Appreciation Institutional Fund, a Series of The Alger Institutional   Funds     12/8/2015   BUY         62,000     13.25
Alger Capital Appreciation Institutional Fund, a Series of The Alger Institutional   Funds     12/9/2015   BUY           8,900    13.95
Alger Capital Appreciation Institutional Fund, a Series of The Alger Institutional   Funds     12/9/2015   BUY         33,300     14.02
Alger Capital Appreciation Institutional Fund, a Series of The Alger Institutional   Funds    12/11/2015   BUY         99,800     13.79
Alger Capital Appreciation Portfolio, a Series of The Alger Portfolios                        12/11/2014   BUY           1,200    15.00
Alger Capital Appreciation Portfolio, a Series of The Alger Portfolios                        12/11/2014   SELL          1,200    22.53
Alger Capital Appreciation Portfolio, a Series of The Alger Portfolios                          8/6/2015   BUY         64,000     13.93
Alger Capital Appreciation Portfolio, a Series of The Alger Portfolios                         8/10/2015   BUY         20,600     14.23
Alger Capital Appreciation Portfolio, a Series of The Alger Portfolios                         8/10/2015   BUY           5,300    14.28
Alger Capital Appreciation Portfolio, a Series of The Alger Portfolios                         8/11/2015   BUY           6,600    14.04
Alger Capital Appreciation Portfolio, a Series of The Alger Portfolios                         8/12/2015   BUY         20,400     13.97
Alger Capital Appreciation Portfolio, a Series of The Alger Portfolios                         8/26/2015   BUY           2,400    11.96
Alger Capital Appreciation Portfolio, a Series of The Alger Portfolios                          9/4/2015   SELL          3,000    11.99
Alger Capital Appreciation Portfolio, a Series of The Alger Portfolios                         9/25/2015   SELL        12,900     13.22
Alger Capital Appreciation Portfolio, a Series of The Alger Portfolios                         9/28/2015   SELL        16,500     13.02

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Name                                                                             Date           Trans.   Qnty        Price
Alger Capital Appreciation Portfolio, a Series of The Alger Portfolios            10/15/2015    BUY          1,800      14.61
Alger Capital Appreciation Portfolio, a Series of The Alger Portfolios            10/29/2015    BUY          7,600      13.57
Alger Capital Appreciation Portfolio, a Series of The Alger Portfolios            10/29/2015    BUY          5,100      13.45
Alger Capital Appreciation Portfolio, a Series of The Alger Portfolios            11/24/2015    SELL        25,000      12.08
Alger Capital Appreciation Portfolio, a Series of The Alger Portfolios             12/9/2015    BUY          1,800      13.95
Alger Capital Appreciation Portfolio, a Series of The Alger Portfolios             12/9/2015    BUY          4,900      14.02
Alger Capital Appreciation Portfolio, a Series of The Alger Portfolios            12/11/2015    BUY         15,500      13.79
Alger Capital Appreciation Portfolio, a Series of The Alger Portfolios              2/5/2016    SELL        16,300       7.01
Alger Capital Appreciation Portfolio, a Series of The Alger Portfolios             3/10/2016    SELL        11,000       9.09
Alger Collective Trust Capital Appreciation Series                                  8/6/2015    BUY          7,400      13.93
Alger Collective Trust Capital Appreciation Series                                 8/10/2015    BUY          5,320      14.23
Alger Collective Trust Capital Appreciation Series                                 8/10/2015    BUY          1,370      14.28
Alger Collective Trust Capital Appreciation Series                                 8/11/2015    BUY          1,680      14.04
Alger Collective Trust Capital Appreciation Series                                 8/12/2015    BUY          3,605      13.92
Alger Collective Trust Capital Appreciation Series                                 8/21/2015    BUY          1,590      12.18
Alger Collective Trust Capital Appreciation Series                                 9/22/2015    SELL           320      13.67
Alger Collective Trust Capital Appreciation Series                                 9/25/2015    SELL         1,265      13.22
Alger Collective Trust Capital Appreciation Series                                 9/28/2015    SELL         2,730      13.02
Alger Collective Trust Capital Appreciation Series                                 9/30/2015    SELL         6,660      13.22
Alger Collective Trust Capital Appreciation Series                                10/13/2015    BUY            860      14.27
Alger Collective Trust Capital Appreciation Series                                10/16/2015    SELL         7,065      14.39
Alger Collective Trust Capital Appreciation Series                                10/29/2015    BUY            185      13.57
Alger Collective Trust Capital Appreciation Series                                10/29/2015    BUY            120      13.45
Alger Collective Trust Capital Appreciation Series                                11/24/2015    SELL           970      12.08
Alger Collective Trust Capital Appreciation Series                                 12/9/2015    BUY            250      14.02
Alger Collective Trust Capital Appreciation Series                                12/11/2015    BUY            620      13.82
Alger Collective Trust Capital Appreciation Series                                   1/5/2016   SELL           400      10.90
Alger Collective Trust Capital Appreciation Series                                  2/5/2016    SELL           565       7.01
Alger Collective Trust Capital Appreciation Series                                  3/8/2016    BUY          1,365       9.00
Alger Collective Trust Capital Appreciation Series                                 3/10/2016    SELL           585       9.12
Alger Dynamic Opportunities Fund, a Series of The Alger Funds II                   5/26/2015    BUY         26,400      18.46
Alger Dynamic Opportunities Fund, a Series of The Alger Funds II                    7/2/2015    BUY          5,000      13.69

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Name                                                                         Date           Trans.   Qnty         Price
Alger Dynamic Opportunities Fund, a Series of The Alger Funds II               7/20/2015    BUY          4,560       14.66
Alger Dynamic Opportunities Fund, a Series of The Alger Funds II                8/4/2015    BUY         15,755       13.34
Alger Dynamic Opportunities Fund, a Series of The Alger Funds II                8/4/20 15   BUY         24,085       13.75
Alger Dynamic Opportunities Fund, a Series of The Alger Funds II                8/5/2015    BUY          3,585       14.33
Alger Dynamic Opportunities Fund, a Series of The Alger Funds II                8/5/2015    BUY         14,275       14.20
Alger Dynamic Opportunities Fund, a Series of The Alger Funds II                8/5/2015    BUY          4,670       14.28
Alger Dynamic Opportunities Fund, a Series of The Alger Funds II                9/2/2015    SELL        25,250       12.17
Alger Dynamic Opportunities Fund, a Series of The Alger Funds II               12/8/2015    BUY         15,840       13.77
Alger Dynamic Opportunities Fund, a Series of The Alger Funds II               2/10/2016    BUY         34,365        6.53
Alger Dynamic Opportunities Fund, a Series of The Alger Funds II                3/2/2016    BUY         69,640        9.07
Alger Dynamic Opportunities Fund, a Series of The Alger Funds II               3/16/2016    SELL        13,765        8.23
Alger Dynamic Opportunities Fund, a Series of The Alger Funds II               4/20/2016    BUY         60,195        8.31
Alger Dynamic Opportunities Fund, a Series of The Alger Funds II               4/25/2016    SELL        11 ,325       7.55
Alger Dynamic Opportunities Fund, a Sub-Fund of Alger SICAV                    5/26/2015    BUY         12,000       18.46
Alger Dynamic Opportunities Fund, a Sub-Fund of Alger SICAV                     7/2/2015    BUY          2,000       13.69
Alger Dynamic Opportunities Fund, a Sub-Fund of Alger SICA V                   7/20/2015    BUY          2,034       14.66
Alger Dynamic Opportunities Fund, a Sub-Fund of Alger SICAV                     8/4/2015    BUY          4,671       13.34
Alger Dynamic Opportunities Fund, a Sub-Fund of Alger SICAV                     8/4/2015    BUY          6,35 1      13.75
Alger Dynamic Opportunities Fund, a Sub-Fund of Alger SICAV                     8/5/2015    BUY          1,814       14.33
Alger Dynamic Opportunities Fund, a Sub-Fund of Alger SICAV                     8/5/201 5   BUY          7,230       14.20
Alger Dynamic Opportunities Fund, a Sub-Fund of Alger SICAV                     8/5/2015    BUY          2,367       14.28
Alger Dynamic Opportunities Fund, a Sub-Fund of Alger SICAV                     9/2/2015    SELL        13,080       12.17
Alger Dynamic Opportunities Fund, a Sub-Fund of Alger SICA V                   12/8/2015    BUY          5,503       13.77
Alger Dynamic Opportunities Fund, a Sub-Fund of Alger SICAV                    2/10/2016    BUY         11 ,935       6.53
Alger Dynamic Opportunities Fund, a Sub-Fund of Alger SICAV                     3/2/2016    BUY         24, 190       9.07
Alger Dynamic Opportunities Fund, a Sub-Fund of Alger SICAV                    3/16/2016    SELL         2,640        8.23
Alger Dynamic Opportunities Fund, a Sub-Fund of Alger SICAV                    4/20/2016    BUY         21,630        8.31
Alger Dynamic Return Fund, LLC                                                 5/26/2015    BUY          6,400       18.46
Alger Dynamic Return Fund, LLC                                                  7/2/2015    BUY          1, 100      13.69
Alger Dynamic Return Fund, LLC                                                 7/20/2015    BUY          1,089       14.66
Alger Dynamic Return Fund, LLC                                                  8/4/2015    BUY          2,470       13.34
Alger Dynamic Return Fund, LLC                                                  8/4/2015    BUY          1,808       13.75

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Name                                                                             Date           Trans.   Qnty        Price
Alger Dynamic Return Fund, LLC                                                       8/5/2015   BUY          1,186      14.33
Alger Dynamic Return Fund, LLC                                                       8/5/2015   BUY          4,735      14.20
Alger Dynamic Return Fund, LLC                                                       8/5/2015   BUY          1,553      14.28
Alger Dynamic Return Fund, LLC                                                      9/2/2015    SELL         6,719      12.17
Alger Dynamic Return Fund, LLC                                                     12/8/2015    BUY          2,953      13.77
Alger Dynamic Return Fund; LLC                                                     2/10/2016    BUY          6,405       6.53
Alger Dynamic Return Fund, LLC                                                      3/2/2016    BUY         12,980       9.07
Alger Dynamic Return Fund, LLC                                                     4/20/2016    BUY         12,080       8.31
Alger Large Cap Growth Portfolio,   a Series of The Alger Portfolios                5/4/2015    BUY         68,373      18.19
Alger Large Cap Growth Portfolio,   a Series of The Alger Portfolios                5/5/2015    BUY         20,677      17.83
Alger Large Cap Growth Portfolio,   a Series of The Alger Portfolios                5/7/2015    SELL         2,100      17.15
Alger Large Cap Growth Portfolio,   a Series of The Alger Portfolios               5/12/2015    SELL         1,900      17.03
Alger Large Cap Growth Portfolio,   a Series of The Alger Portfolios               5/26/2015    BUY         11,400      18.49
Alger Large Cap Growth Portfolio,   a Series of The Alger Portfolios               5/29/2015    BUY         29,400      19.24
Alger Large Cap Growth Portfolio,   a Series of The Alger Portfolios               6/29/2015    BUY         23,400      14.48
Alger Large Cap Growth Portfolio,   a Series of The Alger Portfolios                7/1/2015    BUY         35,700      14.74
Alger Large Cap Growth Portfolio,   a Series of The Alger Portfolios                8/3/2015    SELL         3,700      14.25
Alger Large Cap Growth Portfolio,   a Series of The Alger Portfolios                8/6/2015    BUY        171,100      13.83
Alger Large Cap Growth Portfolio,   a Series of The Alger Portfolios               8/11/2015    BUY         98,400      13.99
Alger Large Cap Growth Portfolio,   a Series of The Alger Portfolios               8/21/2015    BUY         24,600      12.28
Alger Large Cap Growth Portfolio,   a Series of The Alger Portfolios               8/21/2015    BUY         36,900      12.17
Alger Large Cap Growth Portfolio,   a Series of The Alger Portfolios               8/25/2015    SELL        20,100      12.07
Alger Large Cap Growth Portfolio,   a Series of The Alger Portfolios               8/27/2015    SELL        12,000      12.23
Alger Large Cap Growth Portfolio,   a Series of The Alger Portfolios               9/17/2015    SELL        22,300      13.51
Alger Large Cap Growth Portfolio,   a Series of The Alger Portfolios               9/21/2015    SELL        38,000      13.68
Alger Large Cap Growth Portfolio,   a Series of The Alger Portfolios               9/22/2015    SELL        11,800      13.66
Alger Large Cap Growth Portfolio,   a Series of The Alger Portfolios               10/1/2015    SELL         8,500      13.11
Alger Large Cap Growth Portfolio,   a Series of The Alger Portfolios               10/1/2015    SELL        36,600      13.10
Alger Large Cap Growth Portfolio,   a Series of The Alger Portfolios               10/9/2015    SELL        41,600      14.71
Alger Large Cap Growth Portfolio,   a Series of The Alger Portfolios              10/20/2015    SELL        26,000      14.17
Alger Large Cap Growth Portfolio,   a Series of The Alger Portfolios              10/27/2015    SELL         3,100      13.47
Alger Large Cap Growth Portfolio,   a Series of The Alger Portfolios               11/4/2015    SELL         5,400      14.62

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Name                                                                           Date           Trans.   Qnty         Price
Alger Large Cap Growth Portfolio, a Series of The Alger Portfolios               11/5/2015    SELL         8,400       14.11
Alger Large Cap Growth Portfolio, a Series of The Alger Portfolios               12/2/2015    BUY         31 ,700      12.48
Alger Large Cap Growth Portfolio, a Series of The Alger Portfolios               12/3/2015    BUY         45,100       12.78
Alger Large Cap Growth Portfolio, a Series of The Alger Portfolios              12/21/2015    BUY         52,500       11.45
Alger Large Cap Growth Portfolio, a Series of The Alger Portfolios                 1/4/2016   BUY         19,900       10.97
Alger Large Cap Growth Portfolio, a Series of The Alger Portfolios                 1/5/2016   BUY         16,200       I 1.06
Alger Large Cap Growth Portfolio, a Series of The Alger Portfolios                 1/7/2016   BUY         35,500        9.38
Alger Large Cap Growth Portfolio, a Series of The Alger Portfolios               1/11/2016    BUY         43,300        9.35
Alger Large Cap Growth Portfolio, a Series of The Alger Portfolios               1/11/2016    BUY         71,700        9.32
Alger Large Cap Growth Portfolio, a Series of The Alger Portfolios               1/12/2016    SELL        15,600        9.39
Alger Large Cap Growth Portfolio, a Series of The Alger Portfolios               1/29/2016    SELL         2,200        7.35
Alger Large Cap Growth Portfolio, a Series of The Alger Portfolios                2/1/2016    BUY         39,900        7.46
Alger Large Cap Growth Portfolio, a Series of The Alger Portfolios                2/2/2016    SELL        10,300        6.99
Alger Large Cap Growth Portfolio, a Series of The Alger Portfolios                2/5/2016    SELL        24,500        7.0 1
Alger Large Cap Growth Portfolio, a Series of The Alger Portfolios                2/8/2016    BUY         44,200        6.70
Alger Large Cap Growth Portfolio, a Series of The Alger Portfolios               2/22/2016    SELL        31, 100       9.04
Alger Large Cap Growth Portfolio, a Series of The Alger Portfolios                3/1/2016    SELL        17,500         8.62
Alger Large Cap Growth Portfolio, a Series of The Alger Portfolios               3/18/2016    BUY         56,300        8.73
Alger Large Cap Growth Portfolio, a Series of The Alger Portfolios                4/5/2016    BUY         54,600        7.99
Alger Large Cap Growth Portfolio, a Series of The Alger Portfolios                4/6/2016    BUY        106,000        8. 18
Alger Large Cap Growth Portfolio, a Series of The Alger Portfolios               4/12/2016    SELL        29,500        7.37
Alger Large Cap Growth Portfolio, a Series of The Alger Portfolios               4/15/2016    BUY        138,500        7.35
Alger Large Cap Growth Portfolio, a Series of The Alger Portfolios               4/19/2016    BUY         99,400        8.04
Alger Large Cap Growth Portfolio, a Series of The Alger Portfolios               4/22/2016    SELL        28,900        7.63
Alger Large Cap Growth Portfolio, a Series of The Alger Portfolios                5/3/2016    BUY         94,900        7.16
Alger Large Cap Growth Portfolio, a Series of The Alger Portfolios                5/5/2016    SELL        13,700        6.84
Alger Mid Cap Growth Fund, a Series of The Alger Funds                          12/11/2014    BUY             500      15.00
Alger Mid Cap Growth Fund, a Series of The Alger Funds                          12/11/2014    SELL            500      24.65
Alger Mid Cap Growth Fund, a Series of The Alger Funds                           2/19/20 15   BUY         22,400       22.42
Alger Mid Cap Growth Fund, a Series of The Alger Funds                           2/23/2015    BUY         12,600       23.40
Alger Mid Cap Growth Fund, a Series of The Alger Funds                           2/24/2015    BUY          9,600       24.38
Alger Mid Cap Growth Fund, a Series of The Alger Funds                           2/24/2015    BUY          8,700       23.14

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Name                                                                                 Date          Trans.   Qnty        Price
Alger Mid Cap Growth Fund, a Series of The Alger Funds                                 2/25/2015   BUY         50,900      19.91
Alger Mid Cap Growth Fund, a Series of The Alger Funds                                 3/19/2015   SELL        16,500      19.67
Alger Mid Cap Growth Fund, a Series of The Alger Funds                                 4/27/2015   BUY         11,500      18.39
Alger Mid Cap Growth Fund, a Series of The Alger Funds                                 4/29/2015   BUY           5,700     17.52
Alger Mid Cap Growth Fund, a Series of The Alger Funds                                  5/1/2015   BUY         22,800      17.55
Alger Mid Cap Growth Fund, a Series of The Alger Funds                                  5/8/2015   SELL          3,800     17.15
Alger Mid Cap Growth Fund, a Series of The Alger Funds                                  5/8/2015   SELL        25,700      16.44
Alger Mid Cap Growth Fund, a Series of The Alger Funds                                 5/14/2015   SELL        30, 100     16.95
Alger Mid Cap Growth Fund, a Series of The Alger Funds                                 6/11/2015   BUY           6,000     17.33
Alger Mid Cap Growth Fund, a Series of The Alger Funds                                10/30/2015   SELL        13,500      14.13
Alger Mid Cap Growth Fund, a Series of The Alger Funds                                  2/8/2016   SELL        10,900       6.74
Alger Mid Cap Growth Fund, a Series of The Alger Funds                                 2/23/2016   SELL          8,500      8.73
Alger Mid Cap Growth Fund, a Series of The Alger Funds                                 3/15/2016   SELL        14,100       8.64
Alger Mid Cap Growth Institutional Fund, a Series of The Alger Institutional Funds    12/11/2014   BUY             400     15.00
Alger Mid Cap Growth Institutional Fund, a Series of The Alger Institutional Funds    12/11/2014   SELL            400     24.65
Alger Mid Cap Growth Institutional Fund, a Series of The Alger Institutional Funds     2/19/2015   BUY         17,000      22.42
Alger Mid Cap Growth Institutional Fund, a Series of The Alger Institutional Funds     2/23/2015   BUY           9,739     23.40
Alger Mid Cap Growth Institutional Fund, a Series of The Alger Institutional Funds     2/24/2015   BUY           7,16 1    24.38
Alger Mid Cap Growth Institutional Fund, a Seiies of The Alger Institutional Funds     2/24/2015   BUY           6,600     23 .14
Alger Mid Cap Growth Institutional Fund, a Series of The Alger Institutional Funds     2/25/2015   BUY         38,500      19.91
Alger Mid Cap Growth Institutional Fund, a Series of The Alger Institutional Funds     3/19/2015   SELL        12,500      19.67
Alger Mid Cap Growth Institutional Fund, a Series of The Alger Institutional Funds     4/27/2015   BUY           8,700     18.39
Alger Mid Cap Growth Institutional Fund, a Series of The Alger Institutional Funds     4/29/2015   BUY           4,300     17.52
Alger Mid Cap Growth Institutional Fund, a Series of The Alger Institutional Funds      5/1/2015   BUY         17,600      17.55
Alger Mid Cap Growth Institutional Fund, a Series of The Alger Institutional Funds      5/8/2015   SELL          2,800     17.15
Alger Mid Cap Growth Institutional Fund, a Series of The Alger Institutional Funds      5/8/2015   SELL        19,600      16.44
Alger Mid Cap Growth Institutional Fund, a Series of The Alger Institutional Funds     5/14/2015   SELL        22,900      16.95
Alger Mid Cap Growth Institutional Fund, a Series of The Alger Institutional Funds     6/11/2015   BUY           4,600     17.33
Alger Mid Cap Growth Institutional Fund, a Series of The Alger Institutional Funds     8/13/2015   SELL            800     13.94
Alger Mid Cap Growth Institutional Fund, a Series of The Alger Institutional Funds     8/18/2015   SELL          1,900     13.17
Alger Mid Cap Growth Institutional Fund, a Series of The Alger Institutional Funds    10/30/2015   SELL          9,800     14.1 3
Alger Mid Cap Growth Institutional Fund, a Series of The Alger Institutional Funds      2/8/2016   SELL          7,600      6.74

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Name                                                                                   Date          Trans.   Qnty         Price
Alger Mid Cap Growth Institutional Fund, a Series of The Alger Institutional Funds       2/23/2016   SELL         5,900        8.73
Alger Mid Cap Growth Institutional Fund, a Series of The Alger Institutional Funds       3/15/2016   SELL        11,500        8.64
Alger Mid Cap Growth Portfolio, a Series of The Alger Portfolios                        12/11/2014   BUY             400      15.00
Alger Mid Cap Growth Portfolio, a Series of The Alger Portfolios                        12/11/2014   SELL            400      24.65
Alger Mid Cap Growth Portfolio, a Series of The Alger Portfolios                         2/19/2015   BUY         17,500       22.42
Alger Mid Cap Growth Portfolio, a Series of The Alger Portfolios                         2/23/2015   BUY          9,800       23.40
Alger Mid Cap Growth Portfolio, a Series of The Alger Portfolios                         2/24/2015   BUY          7,400       24.38
Alger Mid Cap Growth Portfolio, a Series of The Alger Portfolios                         2/24/2015   BUY          6,700       23.14
Alger Mid Cap Growth Portfolio, a Series of The Alger Portfolios                         2/25/2015   BUY         39,600       19.91
Alger Mid Cap Growth Portfolio, a Series of The Alger Portfolios                         3/19/2015   SELL        12,900       19.67
Alger Mid Cap Growth Portfolio, a Series of The Alger Portfolios                         4/27/2015   BUY          8,900       18.39
Alger Mid Cap Growth Portfolio, a Series of The Alger Portfolios                         4/29/2015   BUY          4,400       17.52
Alger Mid Cap Growth Portfolio, a Series of The Alger Portfolios                          5/1/2015   BUY         17,700       17.55
Alger Mid Cap Growth Portfolio, a Series of The Alger Portfolios                          5/8/2015   SELL         2,900       17.15
Alger Mid Cap Growth Portfolio, a Series of The Alger Portfolios                          5/8/2015   SELL        20,000       16.44
Alger Mid Cap Growth Portfolio, a Series of The Alger Portfolios                         5/14/2015   SELL        23,400       16.95
Alger Mid Cap Growth Portfolio, a Series of The Alger Portfolios                         6/11/2015   BUY          4,600       17.33
Alger Mid Cap Growth Portfolio, a Series of The Alger Portfolios                        10/30/2015   SELL        10,300       14.13
Alger Mid Cap Growth Portfolio, a Series of The Alger Portfolios                          2/8/2016   SELL         8,200        6.74
Alger Mid Cap Growth Portfolio, a Series of The Alger Portfolios                         2/23/2016   SELL         6,400        8.73
Alger Mid Cap Growth Portfolio, a Series of The Alger Portfolios                         3/15/2016   SELL        12,000        8.64
Alger Small Cap Growth Fund, a Series of The Alger Funds                                 4/14/2016   BUY         43 ,500       7.37
Alger Small Cap Growth Fund, a Series of The Alger Funds                                 4/21/2016   BUY         34,800        7 .76
Alger Small Cap Growth Fund, a Series of The Alger Funds                                 4/27/2016   BUY         93,600        7.95
Alger Small Cap Growth Fund, a Series of The Alger Funds                                  5/4/2016   BUY         46,400        6.96
Alger Small Cap Growth Institutional Fund, a Series of The Alger Institutional Funds     4/14/2016   BUY         83 ,650       7.37
Alger Small Cap Growth Institutional Fund, a Series of The Alger Institutional Funds     4/21/2016   BUY         66,900        7.76
Alger Small Cap Growth Institutional Fund, a Series of The Alger Institutional Funds     4/27/2016   BUY        179,950        7.95
Alger Small Cap Growth Institutional Fund, a Series of The Alger Institutional Funds      5/4/2016   BUY         89,150        6.96
Alger Small Cap Growth Institutional Fund, a Series of The Alger Institutional Funds      5/6/2016   SELL        11,500        7.05
Alger Small Cap Growth Portfolio, a Series of The Alger Portfolios                       4/14/2016   BUY         60,600        7.37
Alger Small Cap Growth Portfolio, a Series of The Alger Portfolios                       4/21/2016   BUY         48,500        7.76

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Name                                                                           Date           Trans.   Qnty       Price
Alger Small Cap Growth Portfolio, a Series of The Alger Portfolios               4/27/2016    BUY        130,400      7.95
Alger Small Cap Growth Portfolio, a Series of The Alger Portfolios                5/4/2016    BUY         64,600      6.96
Alger SM id Cap Focus Fund, a Series of The Alger Funds                         12/11/2014    BUY           2,450    15.00
Alger SMid Cap Focus Fund, a Series of The Alger Funds                          12/11/2014    SELL          2,450    24.65
Alger SMid Cap Focus Fund, a Series of The Alger Funds                             1/6/2016   BUY         83,650     10.32
Alger SM id Cap Focus Fund, a Series of The Alger Funds                          1/11/2016    BUY        100,850      9.24
Alger SMid Cap Focus Fund, a Series of The Alger Funds                           1/12/2016    BUY         85,300      9.41
Alger SM id Cap Focus Fund, a Series of The Alger Funds                          1/13/2016    BUY         32,200      8.96
Alger SMid Cap Focus Fund, a Series of The Alger Funds                            2/1/2016    BUY         64,300      7.46
Alger SMid Cap Focus Fund, a Series of The Alger Funds                            2/3/2016    BUY         74,050      7.30
Alger SM id Cap Focus Fund, a Series of The Alger Funds                           3/2/2016    SELL        15,900      9.09
Alger SMid Cap Focus Fund, a Series of The Alger Funds                            3/3/2016    BUY         90,400      9.54
Alger SMid Cap Focus Fund, a Series of The Alger Funds                           3/17/2016    SELL        19,400      8.43
Alger SMid Cap Focus Fund, a Series of The Alger Funds                            4/5/2016    BUY         66,200      7.99
Alger SMid Cap Focus Fund, a Series of The Alger Funds                            4/6/2016    BUY        128,600      8.18
Alger SM id Cap Focus Fund, a Series of The Alger Funds                          4/13/2016    SELL          8,900     7.59
Alger SM id Cap Focus Fund, a Series of The Alger Funds                          4/14/2016    BUY         95 ,400     7.37
Alger SMid Cap Focus Fund, a Series of The Alger Funds                            5/3/2016    SELL       171 ,550     7.09
Alger SMid Cap Focus Portfolio, a Series of The Alger Portfolios                12/11/2014    BUY             105    15.00
Alger SMid Cap Focus Portfolio, a Series of The Alger Portfolios                12/11/2014    SELL            105    24.65
Alger SMid Cap Focus Portfolio, a Series of The Alger Portfolios                   1/6/2016   BUY             820    10.32
Alger SM id Cap Focus Portfolio, a Series of The Alger Portfolios                1/11/2016    BUY             990     9.24
Alger SM id Cap Focus Portfolio, a Series of The Alger Portfolios                1/12/2016    BUY             835     9.41
Alger SMid Cap Focus Portfolio, a Series of The Alger Portfolios                 1/13/2016    BUY             365     8.96
Alger SM id Cap Focus Portfolio, a Series of The Alger Portfolios                 2/1/2016    BUY             640     7.46
Alger SMid Cap Focus Portfolio, a Series of The Alger Portfolios                  2/3/2016    BUY             865     7.30
Alger SMid Cap Focus Portfolio, a Series of The Alger Portfolios                  3/2/2016    SELL            135     9.09
Alger SMid Cap Focus Portfolio, a Series of The Alger Portfolios                  3/3/2016    BUY             935     9.54
Alger SM id Cap Focus Portfolio, a Series of The Alger Portfolios                 4/5/2016    BUY             658     7.99
Alger SMid Cap Focus Portfolio, a Series of The Alger Portfolios                  4/6/2016    BUY           1,397     8.18
Alger SMid Cap Focus Portfolio, a Series of The Alger Portfolios                 4/12/2016    SELL            165     7.51
Alger SMid Cap Focus Portfolio, a Series of The Alger Portfolios                 4/14/2016    BUY           1,010     7.37

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Name                                                                         Date            Trans.   Qnty       Price
Alger Spectra Fund, a Series of The Alger Funds II                            12/11/2014     BUY         10,810     15.00
Alger Spectra Fund, a Series of The Alger Funds II                            12/11/2014     SELL        10,810     22.53
Alger Spectra Fund, a Series of The Alger Funds II                              5/6/2015     BUY        430,000     18.45
Alger Spectra Fund, a Series of The Alger Funds II                              5/8/2015     SELL       147,000     16.44
Alger Spectra Fund, a Series of The Alger Funds II                             5/28/2015     BUY         34,581     18.80
Alger Spectra Fund, a Series of The Alger Funds II                             5/29/2015     BUY         44,111     19.03
Alger Spectra Fund, a Series of The Alger Funds II                              6/4/2015     BUY         63,289     18.62
Alger Spectra Fund, a Series of The Alger Funds II                              6/8/2015     BUY        140,900     18.01
Alger Spectra Fund, a Series of The Alger Funds II                             6/10/2015     BUY        298,900     17.37
Alger Spectra Fund, a Series of The Alger Funds II                              7/7/2015     SELL        65 ,000    13.93
Alger Spectra Fund, a Series of The Alger Funds II                              7/7/2015     SELL        25,000     13.92
Alger Spectra Fund, a Series of The Alger Funds II                              8/4/2015     SELL       103,100     13.56
Alger Spectra Fund, a Series of The Alger Funds II                              8/4/2015     BUY        220,800     13.75
Alger Spectra Fund, a Series of The Alger Funds II                              8/5/2015     BUY         30,800     14.62
Alger Spectra Fund, a Series of The Alger Funds II                              8/5/2015     BUY         24,900     14.52
Alger Spectra Fund, a Series of The Alger Funds II                              8/5/2015     BUY         96,600     14.28
Alger Spectra Fund, a Series of The Alger Funds II                             8/10/2015     BUY        100,800     14.23
Alger Spectra Fund, a Series of The Alger Funds II                             8/10/2015     BUY         25,900     14 .28
Alger Spectra Fund, a Series of The Alger Funds II                             8/11/2015     BUY         31,900     14.04
Alger Spectra Fund, a Series of The Alger Funds II                             8/12/2015     BUY         56,300     13.97
Alger Spectra Fund, a Series of The Alger Funds II                             9/25/2015     SELL       275,100     13.22
Alger Spectra Fund, a Series of The Alger Funds II                             9/28/2015     SELL       158,400     13.02
Alger Spectra Fund, a Series of The Alger Funds II                            10/29/2015     BUY         70,600     13.57
Alger Spectra Fund, a Series of The Alger Funds II                            10/29/2015     BUY         47,100     13.45
Alger Spectra Fund, a Series of The Alger Funds II                            10/30/2015     SELL       489,400     14. 13
Alger Spectra Fund, a Series of The Alger Funds II                            11/24/2015     SELL       232,600     12.08
Alger Spectra Fund, a Series of The Alger Funds II                             12/7/2015     BUY        144,800     13.33
Alger Spectra Fund, a Series of The Alger Funds II                             12/8/2015     BUY         46,500     13.25
Alger Spectra Fund, a Series of The Alger Funds II                             12/9/2015     BUY         17,700     13.95
Alger Spectra Fund, a Series of The Alger Funds II                             12/9/2015     BUY         45,200     14.02
Alger Spectra Fund, a Series of The Alger Funds II                            12/11 /20 15   BUY        146,000     13.79
Alger Spectra Fund, a Series of The Alger Funds II                            12/31/2015     BUY         81,200     10.99

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Name                                                                         Date           Trans.   Qnty        Price
Alger Spectra Fund, a Series of The Alger Funds II                               1/5/2016   BUY        184,700      11.05
Alger Spectra Fund, a Series of The Alger Funds II                              2/5/2016    SELL        63,900       7.01
Alger Spectra Fund, a Series of The Alger Funds II                             3/10/2016    SELL       106,400       9.09
Brisson Fund                                                                     1/6/2016   BUY             395     10.36
Brisson Fund                                                                   1/12/2016    BUY             780      9.45
Brisson Fund                                                                   1/14/2016    BUY             225      8.35
Brisson Fund                                                                    2/2/2016    BUY             265      7.01
Brisson Fund                                                                    2/4/2016    BUY             505      7.56
Brisson Fund                                                                    3/3/2016    BUY             420      9.50
Brisson Fund                                                                    4/5/2016    BUY             475      8.00
Brisson Fund                                                                    4/8/2016    BUY             525      7.84
Brisson Fund                                                                   4/14/2016    BUY             445      7.45
Carpenters Annuity Trust Fund for Northern California                           8/6/2015    BUY           2,969     13.93
Carpenters Annuity Trust Fund for Northern California                          8/10/2015    BUY           2,645     14.22
Carpenters Annuity Trust Fund for Northern California                          8/11/2015    BUY             403     14.04
Carpenters Annuity Trust Fund for Northern California                          8/12/2015    BUY           1,501     13.95
Carpenters Annuity Trust Fund for Northern California                          9/25/2015    SELL             152    13.22
Carpenters Annuity Trust Fund for Northern California                          9/28/2015    SELL          ], 192    13.02
Carpenters Annuity Trust Fund for Northern California                         10/29/2015    BUY           1,912     13.57
Carpenters Annuity Trust Fund for Northern California                         10/29/2015    BUY           1,272     13.45
Carpenters Annuity Trust Fund for Northern California                         11/24/2015    SELL          4,841     12.08
Carpenters Annuity Trust Fund for Northern California                         11/27/2015    BUY               96    12.47
Carpenters Annuity Trust Fund for Northern California                          12/9/2015    BUY           1,238     14.02
Carpenters Annuity Trust Fund for Northern California                         12/11/2015    BUY           3,107     13.82
Carpenters Annuity Trust Fund for Northern California                         12/31/2015    BUY           1,867     11.00
Carpenters Annuity Trust Fund for Northern California                            1/5/2016   BUY           2,516     11.06
Carpenters Annuity Trust Fund for Northern California                          1/29/2016    BUY             226      7.34
Carpenters Annuity Trust Fund for Northern California                           2/2/2016    SELL          1,978      6.97
Carpenters Annuity Trust Fund for Northern California                           2/5/2016    SELL          4,677      7.01
Carpenters Annuity Trust Fund for Northern California                          3/10/2016    SELL          2,244      9.12
Carpenters Pension Trust Fund for Northern California                           8/6/2015    BUY           5,746     13.93
Carpenters Pension Trust Fund for Northern California                          8/10/2015    BUY           5,129     14.22

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Name                                                                         Date         Trans.   Qnty           Price
Carpenters Pension Trust Fund for   Northern   California                      8/11/2015 BUY                777      14.04
Carpenters Pension Trust Fund for   Northern   California                      8/12/2015 BUY              2,914      13.95
Carpenters Pension Trust Fund for   Northern   California                      9/25/2015 SELL               299      13.22
Carpenters Pension Trust Fund for   Northern   California                      9/28/2015 SELL             2,305      13.02
Carpenters Pension Trust Fund for   Northern   California                     10/29/2015 BUY              2,461      13.57
Carpenters Pension Trust Fund for   Northern   California                     10/29/2015 BUY              1,638      13.45
Carpenters Pension Trust Fund for   Northern   California                     11/24/2015 SELL             6,666      12.08
Carpenters Pension Trust Fund for   Northern   California                     11/27/2015 BUY                370      12.47
Carpenters Pension Trust Fund for   Northern   California                      12/9/2015 BUY              1,715      14.02
Carpenters Pension Trust Fund for   Northern   California                     12/11/2015 BUY              4,304      13.82
Carpenters Pension Trust Fund for   Northern   California                     12/31/2015 BUY              2,590      11.00
Carpenters Pension Trust Fund for   Northern   California                        1/5/2016 BUY             3,489      11.06
Carpenters Pension Trust Fund for   Northern   California                        1/8/2016 BUY               163       9.44
Carpenters Pension Trust Fund for   Northern   California                      1/29/2016 BUY                347       7.34
Carpenters Pension Trust Fund for   Northern   California                       2/2/2016 SELL             3,192       6.97
Carpenters Pension Trust Fund for   Northern   California                       2/5/2016 SELL             6,486       7.01
Carpenters Pension Trust Fund for   Northern   California                      3/10/2016 SELL             3,122       9.12
Kaiser Foundation Hospitals                                                   12/11/2014 BUY                380      15.00
Kaiser Foundation Hospitals                                                   12/11/2014 SELL               380      22.53
Kaiser Foundation Hospitals                                                    6/23/2015 BUY              7,380      16.53
Kaiser Foundation Hospitals                                                    6/24/2015 BUY              5,550      16.35
Kaiser Foundation Hospitals                                                     8/4/2015 SELL             3,460      13.56
Kaiser Foundation Hospitals                                                     8/6/2015 BUY              6,630      13.93
Kaiser Foundation Hospitals                                                    8/10/2015 BUY              8,620      14.24
Kaiser Foundation Hospitals                                                    8/11/2015 BUY              3,060      14.04
Kaiser Foundation Hospitals                                                    8/12/2015 BUY              5,920      13.96
Kaiser Foundation Hospitals                                                    9/25/2015 SELL             2,990      13.22
Kaiser Foundation Hospitals                                                    9/28/2015 SELL             4,940      13.02
Kaiser Foundation Hospitals                                                   10/29/2015 BUY              2,130      13.57
Kaiser Foundation Hospitals                                                   10/29/2015 BUY              1,420      13.45
Kaiser Foundation Hospitals                                                   11/24/2015 SELL             7,160      12.08
Kaiser Foundation Hospitals                                                    12/9/2015 BUY              1,830      14.02

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Name                                                                             Date           Trans.   Qnty        Price
Kaiser Foundation Hospitals                                                       12/11/2015    BUY          4,590      13.82
Kaiser Foundation Hospitals                                                       12/31/2015    BUY          2,760      11.00
Kaiser Foundation Hospitals                                                          1/5/2016   BUY          3,720      11.06
Kaiser Foundation Hospitals                                                          1/8/2016   BUY            150       9.44
Kaiser Foundation Hospitals                                                         2/2/2016    SELL         3,040       6.97
Kaiser Foundation Hospitals                                                         2/5/2016    SELL         6,970       7.01
Kaiser Foundation Hospitals                                                        3/10/2016    SELL         3,340       9.09
Kaiser Foundation Hospitals                                                        4/29/2016    BUY            130       7.90
Kaiser Permanente Group Trust                                                     12/11/2014    BUY            900      15.00
Kaiser Permanente Group Trust                                                     12/11/2014    SELL           900      22.53
Kaiser Permanente Group Trust                                                      6/23/2015    BUY         15,500      16.53
Kaiser Permanente Group Trust                                                      6/24/2015    BUY         11,600      16.35
Kaiser Permanente Group Trust                                                      6/25/2015    BUY         11,700      15.95
Kaiser Permanente Group Trust                                                        8/4/2015   SELL         6,900      13.56
Kaiser Permanente Group Trust                                                        8/6/2015   BUY         12,200      13.93
Kaiser Permanente Group Trust                                                      8/10/2015    BUY         12,200      14.24
Kaiser Permanente Group Trust                                                      8/11/2015    BUY          4,400      14.04
Kaiser Permanente Group Trust                                                      8/12/2015    BUY         12,500      13.96
Kaiser Permanente Group Trust                                                      9/25/2015    SELL         8,900      13.22
Kaiser Permanente Group Trust                                                      9/28/2015    SELL        10,400      13.02
Kaiser Permanente Group Trust                                                     10/29/2015    BUY          4,500      13.57
Kaiser Permanente Group Trust                                                     10/29/2015    BUY          3,000      13.45
Kaiser Permanente Group Trust                                                     11/24/2015    SELL        15,000      12.08
Kaiser Permanente Group Trust                                                      12/9/2015    BUY          3,800      14.02
Kaiser Permanente Group Trust                                                     12/11/2015    BUY          9,600      13.82
Kaiser Permanente Group Trust                                                     12/31/2015    BUY          5,700      11.00
Kaiser Permanente Group Trust                                                        1/5/2016   BUY          7,700      11.06
Kaiser Permanente Group Trust                                                        1/8/2016   BUY            600       9.44
Kaiser Permanente Group Trust                                                       2/2/2016    SELL         6,500       6.97
Kaiser Permanente Group Trust                                                       2/5/2016    SELL        14,600       7.01
Kaiser Permanente Group Trust                                                      3/10/2016    SELL         7,000       9.12
Laborer's Local 57 Industrial Pension Fund of Philadelphia, PA                      8/4/2015    BUY          5,475      13.75

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Name                                                                             Date           Trans.   Qnty          Pdce
Laborer's Local 57 Industrial Pension Fund of Philadelphia, PA                      8/10/2015   BUY            675       14.23
Laborer's Local 57 Industrial Pension Fund of Philadelphia, PA                      8/10/2015   BUY            175       14.28
Laborer's Local 57 Industrial Pension Fund of Philadelphia, PA                      8/11/2015   BUY            215       14.04
Laborer's Local 57 Industrial Pension Fund of Philadelphia, PA                      8/12/2015   BUY          1,435       13.92
Laborer's Local 57 Industrial Pension Fund of Philadelphia, PA                      9/25/2015   SELL         1,270       13.22
Laborer's Local 57 Industrial Pension Fund of Philadelphia, PA                      9/28/2015   SELL         1,085       13.02
Laborer's Local 57 Industrial Pension Fund of Philadelphia, PA                    10/29/2015    BUY            455       13.57
Laborer's Local 57 Industrial Pension Fund of Philadelphia, PA                    10/29/2015    BUY            295       13.45
Laborer's Local 57 Industrial Pension Fund of Philadelphia, PA                    11/24/2015    SELL         1,550       12.08
Laborer's Local 57 Industrial Pension Fund of Philadelphia, PA                      12/9/2015   BUY            395       14.02
Laborer's Local 57 Industrial Pension Fund of Philadelphia, PA                    12/11/2015    BUY            995       13.82
Laborer's Local 57 Industrial Pension Fund of Philadelphia, PA                       2/5/2016   SELL           815        7.01
Laborer's Local 57 Industrial Pension Fund of Philadelphia, PA                      3/10/2016   SELL           730        9.12
Oklahoma Firefighters Pension and Retirement Fund                                 12/11/2014    BUY             300      15.00
Oklahoma Firefighters Pension and Retirement Fund                                 l 2/19/2014   SELL            300      25.71
Oklahoma Firefighters Pension and Retirement Fund                                    8/6/2015   BUY         13,115       13.93
Oklahoma Firefighters Pension and Retirement Fund                                   8/10/2015   BUY         I 1,345      14.24
Oklahoma Firefighters Pension and Retirement Fund                                   8/11/2015   BUY           4,030      14.04
Oklahoma Firefighters Pension and Retirement Fund                                   8/12/2015   BUY          7,205       13.96
Oklahoma Firefighters Pension and Retirement Fund                                   8/25/2015   SELL            985      11.99
Oklahoma Firefighters Pension and Retirement Fund                                   8/25/2015   BUY           1,084      12.04
Oklahoma Firefighters Pension and Retirement Fund                                   8/25/2015   BUY           1,074      12.04
Oklahoma Firefighters Pension and Retirement Fund                                   8/25/2015   BUY           8,751      12.04
Oklahoma Firefighters Pension and Retirement Fund                                   8/25/2015   BUY             230      12.00
Oklahoma Firefighters Pension and Retirement Fund                                   8/26/2015   BUY           2,493      11.90
Oklahoma Firefighters Pension and Retirement Fund                                   8/26/2015   BUY         10,827       12.02
Oklahoma Firefighters Pension and Retirement Fund                                   8/26/2015   BUY             313      11.90
Oklahoma Firefighters Pension and Retirement Fund                                   8/26/2015   BUY           1,989      12.10
Oklahoma Firefighters Pension and Retirement Fund                                   8/27/2015   BUY           3,938      12.32
Oklahoma Firefighters Pension and Retirement Fund                                   8/27/2015   BUY             897      12.34
Oklahoma Firefighters Pension and Retirement Fund                                   8/27/2015   BUY           6,89 1     12.34
Oklahoma Firefighters Pension and Retirement Fund                                   8/28/2015   BUY         12,959       12.72

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Name                                                                          Date         Trans.   Qnty           Price
Oklahoma Firefighters   Pension   and Retirement Fund                            8/28/2015 BUY               214      12.74
Oklahoma Firefighters   Pension   and Retirement Fund                            8/28/2015 BUY               268      12.65
Oklahoma Firefighters   Pension   and Retirement Fund                            8/31/2015 BUY             2,447      12.59
Oklahoma Firefighters   Pension   and Retirement Fund                             9/1/2015 BUY             6,977      12.08
Oklahoma Firefighters   Pension   and Retirement Fund                             9/1/2015 BUY             1,485      12.09
Oklahoma Firefighters   Pension   and Retirement Fund                             9/1/2015 BUY             1,198      12.05
Oklahoma Firefighters   Pension   and Retirement Fund                             9/2/2015 BUY             1,407      12.05
Oklahoma Firefighters   Pension   and Retirement Fund                             9/2/2015 BUY             2,483      12.27
Oklahoma Firefighters   Pension   and Retirement Fund                            9/25/2015 SELL            3,060      13.22
Oklahoma Firefighters   Pension   and Retirement Fund                            9/28/2015 SELL            5,105      13.02
Oklahoma Firefighters   Pension   and Retirement Fund                          I 0/29/2015 BUY             2,195      13.57
Oklahoma Firefighters   Pension   and Retirement Fund                          10/29/2015 BUY              1,455      13.45
Oklahoma Firefighters   Pension   and Retirement Fund                          11/24/2015 SELL             7,345      12.08
Oklahoma Firefighters   Pension   and Retirement Fund                          11/24/2015 BUY              4,681      12.17
Oklahoma Firefighters   Pension   and Retirement Fund                          11/24/2015 BUY              1,872      12.17
Oklahoma Firefighters   Pension   and Retirement Fund                          11/24/2015 BUY              1,244      12.12
Oklahoma Firefighters   Pension   and Retirement Fund                          11/25/2015 BUY                144      12.33
Oklahoma Firefighters   Pension   and Retirement Fund                          11/30/2015 BUY                105      12.03
Oklahoma Firefighters   Pension   and Retirement Fund                          11/30/2015 BUY              1,796      11.98
Oklahoma Firefighters   Pension   and Retirement Fund                          11/30/2015 BUY              3,240      12.01
Oklahoma Firefighters   Pension   and Retirement Fund                            12/1/2015 BUY             1,338      12.06
Oklahoma Firefighters   Pension   and Retirement Fund                            12/1/2015 BUY             2,434      12.08
Oklahoma Firefighters   Pension   and Retirement Fund                            12/4/2015 BUY               380      12.60
Oklahoma Firefighters   Pension   and Retirement Fund                            12/4/2015 BUY             3,790      12.74
Oklahoma Firefighters   Pension   and Retirement Fund                            12/7/2015 BUY                28      12.88
Oklahoma Firefighters   Pension   and Retirement Fund                            12/9/2015 BUY             1,875      14.02
Oklahoma Firefighters   Pension   and Retirement Fund                          12/11/2015 BUY              4,715      13.82
Oklahoma Firefighters   Pension   and Retirement Fund                          12/17/2015 BUY              9,679      12.29
Oklahoma Firefighters   Pension   and Retirement Fund                          12/17/2015 BUY                242      12.14
Oklahoma Firefighters   Pension   and Retirement Fund                          12/17/2015 BUY                152      12.11
Oklahoma Firefighters   Pension   and Retirement Fund                          12/17/2015 BUY              1,810      12.17
Oklahoma Firefighters   Pension   and Retirement Fund                          12/17/2015 BUY              1,694      12.18

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Name                                                                        Date         Trans.   Qnty            Price
Oklahoma Firefighters Pension and Retirement Fund                            12/18/2015 BUY                 925      11.49
Oklahoma Firefighters Pension and Retirement Fund                            12/18/2015 BUY               5,956      11.53
Oklahoma Firefighters Pension and Retirement Fund                            12/18/2015 BUY               2,290      11.58
Oklahoma Firefighters Pension and Retirement Fund                            12/21/2015 BUY                 142      11.45
Oklahoma Firefighters Pension and Retirement Fund                            12/21/2015 BUY               2,964      11.45
Oklahoma Firefighters Pension and Retirement Fund                            12/21/2015 BUY               2,015      11.44
Oklahoma Firefighters Pension and Retirement Fund                            12/31/2015 BUY               2,830      11.00
Oklahoma Firefighters Pension and Retirement Fund                               1/5/2016 BUY              3,820      11.06
Oklahoma Firefighters Pension and Retirement Fund                              2/2/2016 SELL              3,110       6.97
Oklahoma Firefighters Pension and Retirement Fund                              2/3/2016 BUY                  99       7.15
Oklahoma Firefighters Pension and Retirement Fund                              2/3/2016 BUY               6,367       7.37
Oklahoma Firefighters Pension and Retirement Fund                              2/4/2016 BUY                  79       7.77
Oklahoma Firefighters Pension and Retirement Fund                              2/5/2016 SELL              7,135       7.01
Oklahoma Firefighters Pension and Retirement Fund                             2/24/2016 BUY                 243        8.21
Oklahoma Firefighters Pension and Retirement Fund                             2/24/2016 BUY               1,319        8.23
Oklahoma Firefighters Pension and Retirement Fund                             2/24/2016 BUY               8,106        8.22
Oklahoma Firefighters Pension and Retirement Fund                             2/25/2016 BUY               2,675        8.14
Oklahoma Firefighters Pension and Retirement Fund                             2/26/2016 BUY                 304        8.25
Oklahoma Firefighters Pension and Retirement Fund                             3/10/2016 SELL              3,405       9.12
Philadelphia Gas Works Pension Plan                                           6/23/2015 BUY              1,710       16.53
Philadelphia Gas Works Pension Plan                                           6/25/2015 BUY              2,580       15.80
Philadelphia Gas Works Pension Plan                                            8/4/2015 SELL             1,460       13.77
Philadelphia Gas Works Pension Plan                                           8/10/2015 BUY              2,030       14.23
Philadelphia Gas Works Pension Plan                                           8/10/2015 BUY                520       14.28
Philadelphia Gas Works Pension Plan                                           8/11/2015 BUY                640       14.04
Philadelphia Gas Works Pension Plan                                           8/12/2015 BUY              1,380       13.92
Philadelphia Gas Works Pension Plan                                           9/25/2015 SELL               560       13.22
Philadelphia Gas Works Pension Plan                                           9/28/2015 SELL             1,110       13.02
Philadelphia Gas Works Pension Plan                                          10/29/2015 BUY                470       13.57
Philadelphia Gas Works Pension Plan                                          10/29/2015 BUY                320       13.45
Philadelphia Gas Works Pension Plan                                          11/24/2015 SELL             1,590       12.08
Philadelphia Gas Works Pension Plan                                           12/9/2015 BUY                390       14.02

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Name                                                                        Date           Trans.   Qnty           Price
Philadelphia Gas Works Pension Plan                                          12/11/2015    BUY               990      13.82
Philadelphia Gas Works Pension Plan                                            2/5/2016    SELL              910       7.01
Philadelphia Gas Works Pension Plan                                           3/10/2016    SELL              710       9.12
Purdue Research Foundation                                                     8/6/2015    BUY             6,680      13.93
Purdue Research Foundation                                                    8/10/2015    BUY             5,250      14.24
Purdue Research Foundation                                                    8/11/2015    BUY             2,000      14.05
Purdue Research Foundation                                                    8/12/2015    BUY             3,710      13.95
Purdue Research Foundation                                                    9/25/2015    SELL            1,095      13.22
Purdue Research Foundation                                                    9/28/2015    SELL            2,670      13.02
Purdue Research Foundation                                                   10/29/2015    BUY             1,145      13.57
Purdue Research Foundation                                                   10/29/2015    BUY               755      13.45
Purdue Research Foundation                                                   11/23/2015    SELL              650      12.35
Purdue Research Foundation                                                   11/24/2015    SELL            3,675      12.08
Purdue Research Foundation                                                    12/9/2015    BUY               940      14.02
Purdue Research Foundation                                                   12/11/2015    BUY             2,355      13.82
Purdue Research Foundation                                                   12/31/2015    BUY             1,415      11.00
Purdue Research Foundation                                                   12/31/2015    BUY               200      10.99
Purdue Research Foundation                                                      1/5/2016   BUY             1,915      11.06
Purdue Research Foundation                                                     2/2/2016    SELL            1,790       6.97
Purdue Research Foundation                                                     2/5/2016    SELL            3,565       7.01
Purdue Research Foundation                                                    3/10/2016    SELL            1,700       9.12
Steelworkers Pension Trust                                                     8/6/2015    BUY             3,595      13.93
Steelworkers Pension Trust                                                    8/10/2015    BUY             2,585      14.23
Steelworkers Pension Trust                                                    8/10/2015    BUY               665      14.28
Steelworkers Pension Trust                                                    8/11/2015    BUY               815      14.04
Steelworkers Pension Trust                                                    8/12/2015    BUY             1,755      13.92
Steelworkers Pension Trust                                                    9/25/2015    SELL              515      13.22
Steelworkers Pension Trust                                                    9/28/2015    SELL            1,435      13.02
Steelworkers Pension Trust                                                   10/29/2015    BUY               620      13.57
Steelworkers Pension Trust                                                   10/29/2015    BUY               410      13.45
Steelworkers Pension Trust                                                   11/24/2015    SELL            2,070      12.08
Steelworkers Pension Trust                                                    12/9/2015    BUY               530      14.02

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Name                                                                          Date           Trans.   Qnty           Price
Steelworkers Pension Trust                                                     12/11/2015    BUY             1,325      13.82
Steelworkers Pension Trust                                                       2/5/2016    SELL            1,015       7.01
Teamsters Pension Trust Fund of Philadelphia and   Vicinity                    12/11/2014    BUY               115      15.00
Teamsters Pension Trust Fund of Philadelphia and   Vicinity                    12/11/2014    SELL              115      22.53
Teamsters Pension Trust Fund of Philadelphia and   Vicinity                       8/6/2015   BUY             4,215      13.93
Teamsters Pension Trust Fund of Philadelphia and   Vicinity                     8/10/2015    BUY             3,035      14.23
Teamsters Pension Trust Fund of Philadelphia and   Vicinity                     8/10/2015    BUY               785      14.28
Teamsters Pension Trust Fund of Philadelphia and   Vicinity                     8/11/2015    BUY               960      14.04
Teamsters Pension Trust Fund of Philadelphia and   Vicinity                     8/12/2015    BUY             2,045      13.92
Teamsters Pension Trust Fund of Philadelphia and   Vicinity                     9/25/2015    SELL              600      13.22
Teamsters Pension Trust Fund of Philadelphia and   Vicinity                     9/28/2015    SELL            1,690      13.02
Teamsters Pension Trust Fund of Philadelphia and   Vicinity                    10/29/2015    BUY               730      13.57
Teamsters Pension Trust Fund of Philadelphia and   Vicinity                    10/29/2015    BUY               480      13.45
Teamsters Pension Trust Fund of Philadelphia and   Vicinity                    11/24/2015    SELL            2,425      12.08
Teamsters Pension Trust Fund of Philadelphia and   Vicinity                     12/9/2015    BUY               620      14.02
Teamsters Pension Trust Fund of Philadelphia and   Vicinity                    12/11/2015    BUY             1,555      13.82
Teamsters Pension Trust Fund of Philadelphia and   Vicinity                    12/31/2015    BUY               935      11.00
Teamsters Pension Trust Fund of Philadelphia and   Vicinity                       1/5/2016   BUY             1,255      11.06
Teamsters Pension Trust Fund of Philadelphia and   Vicinity                       2/2/2016   SELL            1,025       6.97
Teamsters Pension Trnst Fund of Philadelphia and   Vicinity                       2/5/2016   SELL            2,360       7.01
Teamsters Pension Trust Fund of Philadelphia and   Vicinity                     3/10/2016    SELL            1,115       9.12
The Kern Family Foundation, Inc.                                               12/11/2014    BUY               100      15.00
The Kern Family Foundation, Inc.                                               12/11/2014    SELL              100      22.53
The Kern Family Foundation, Inc.                                                  8/6/2015   BUY             3,500      13.93
The Kern Family Foundation, Inc.                                                8/10/2015    BUY             3,150      14.22
The Kern Family Foundation, Inc.                                                8/11/2015    BUY               450      14.04
The Kern Family Foundation, Inc.                                                8/12/2015    BUY             1,800      13.95
The Kern Family Foundation, Inc.                                                9/25/2015    SELL              250      13.22
The Kern Family Foundation, Inc.                                                9/28/2015    SELL            1,400      13.02
The Kern Family Foundation, Inc.                                               10/29/2015    BUY               600      13.57
The Kern Family Foundation, Inc.                                               10/29/2015    BUY               450      13.45
The Kern Family Foundation, Inc.                                               11/24/2015    SELL            2,000      12.08

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Name                                                                        Date          Trans.   Qnty           Price
The Kern Family Foundation,   Inc.                                            12/3/2015   SELL              950      12.75
The Kern Family Foundation,   Inc.                                            12/9/2015   BUY               450      14.02
The Kern Family Foundation,   Inc.                                           12/11/2015   BUY             1,050      13.82
The Kern Family Foundation,   Inc.                                             2/5/2016   SELL              900       7.01
The Kern Family Foundation,   Inc.                                            3/10/2016   SELL              800       9.12
The Lutheran Foundation                                                        5/4/2015   BUY             2,175      18.19
The Lutheran Foundation                                                        5/5/2015   BUY               675      17.83
The Lutheran Foundation                                                        5/7/2015   SELL               70      17.10
The Lutheran Foundation                                                        5/8/2015   SELL              130      16.30
The Lutheran Foundation                                                       5/12/2015   SELL               50      17.04
The Lutheran Foundation                                                       5/26/2015   BUY               350      18.49
The Lutheran Foundation                                                       5/29/2015   BUY               900      19.24
The Lutheran Foundation                                                       6/29/2015   BUY               715      14.48
The Lutheran Foundation                                                        7/1/2015   BUY             1,000      14.74
The Lutheran Foundation                                                        8/3/2015   SELL              360      14.32
The Lutheran Foundation                                                        8/6/2015   BUY             5,040      13.83
The Lutheran Foundation                                                       8/11/2015   BUY             2,875      14.01
The Lutheran Foundation                                                       8/21/2015   BUY               720      12.28
The Lutheran Foundation                                                       8/21/2015   BUY             1,075      12.17
The Lutheran Foundation                                                       8/25/2015   SELL              315      12.07
The Lutheran Foundation                                                       8/27/2015   SELL              365      12.35
The Lutheran Foundation                                                       9/17/2015   SELL              685      13.51
The Lutheran Foundation                                                       9/18/2015   SELL              195      13.54
The Lutheran Foundation                                                       9/21/2015   SELL            1,095      13.68
The Lutheran Foundation                                                       10/1/2015   SELL              200      13.11
The Lutheran Foundation                                                       10/1/2015   SELL            1,160      13.10
The Lutheran Foundation                                                       10/9/2015   SELL              895      14.71
The Lutheran Foundation                                                      10/20/2015   SELL              810      14.17
The Lutheran Foundation                                                      10/27/2015   SELL               85      13.45
The Lutheran Foundation                                                       11/4/2015   SELL              160      14.64
The Lutheran Foundation                                                       11/5/2015   SELL              265      14.11
The Lutheran Foundation                                                       12/2/2015   BUY               560      12.48

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Name                                                                      Date           Trans.   Qnty           Price
The Lutheran Foundation                                                     12/3/2015    BUY             1,345      12.75
The Lutheran Foundation                                                    12/14/2015    SELL            1,030      12.97
The Lutheran Foundation                                                    12/21/2015    BUY             1,415      11.45
The Lutheran Foundation                                                       1/4/2016   BUY               560      10.97
The Lutheran Foundation                                                       1/5/2016   BUY               520      11.06
The Lutheran Foundation                                                       1/7/2016   BUY               965       9.40
The Lutheran Foundation                                                     1/11/2016    BUY             1,175       9.27
The Lutheran Foundation                                                     1/11/2016    BUY             1,945       9.32
The Lutheran Foundation                                                     1/12/2016    SELL              370       9.40
The Lutheran Foundation                                                     1/29/2016    SELL               40       7.34
The Lutheran Foundation                                                      2/1/2016    BUY             1,090       7.46
The Lutheran Foundation                                                      2/2/2016    SELL              200       7.00
The Lutheran Foundation                                                      2/5/2016    SELL              630       7.01
The Lutheran Foundation                                                      2/8/2016    BUY             1,215       6.65
The Lutheran Foundation                                                     2/22/2016    SELL              700       9.06
The Lutheran Foundation                                                      3/1/2016    SELL              490       8.62
The Lutheran Foundation                                                     3/18/2016    BUY             1,350       8.77
The Lutheran Foundation                                                     3/21/2016    BUY               215       8.70
The Lutheran Foundation                                                      4/5/2016    BUY             1,565       7.99
The Lutheran Foundation                                                      4/6/2016    BUY             3,045       8.18
The Lutheran Foundation                                                     4/12/2016    SELL              600       7.37
The Lutheran Foundation                                                     4/15/2016    BUY             3,910       7.35
The Lutheran Foundation                                                     4/19/2016    BUY             2,805       8.04
The Lutheran Foundation                                                     4/22/2016    SELL              760       7.63
The Lutheran Foundation                                                      5/3/2016    BUY             2,685       7.18
The Lutheran Foundation                                                      5/5/2016    SELL              290       6.84
UFCW Local 1262 and Employers   Pension Fund                                 8/6/2015    BUY             4,840      13.93
UFCW Local 1262 and Employers   Pension Fund                                8/10/2015    BUY             3,485      14.23
UFCW Local 1262 and Employers   Pension Fund                                8/10/2015    BUY               900      14.28
UFCW Local 1262 and Employers   Pension Fund                                8/11/2015    BUY             1,105      14.04
UFCW Local 1262 and Employers   Pension Fund                                8/12/2015    BUY             2,360      13.92
UFCW Local 1262 and Employers   Pension Fund                                9/25/2015    SELL              665      13.22

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Name                                                                      Date           Trans.   Qnty           Price
UFCW Local 1262 and Employers Pension Fund                                  9/28/2015    SELL            1,945      13.02
UFCW Local 1262 and Employers Pension Fund                                 10/29/2015    BUY               835      13.57
UFCW Local 1262 and Employers Pension Fund                                 10/29/2015    BUY               550      13.45
UFCW Local 1262 and Employers Pension Fund                                 11/24/2015    SELL            2,795      12.08
UFCW Local 1262 and Employers Pension Fund                                  12/9/2015    SELL              545      13.78
UFCW Local 1262 and Employers Pension Fund                                  12/9/2015    BUY               665      14.02
UFCW Local 1262 and Employers Pension Fund                                 12/11/2015    BUY             1,665      13.82
UFCW Local 1262 and Employers Pension Fund                                 12/31/2015    BUY             1,000      11.00
UFCW Local 1262 and Employers Pension Fund                                 12/31/2015    BUY               140      11.00
UFCW Local 1262 and Employers Pension Fund                                    1/5/2016   BUY             1,355      11.06
UFCW Local 1262 and Employers Pension Fund                                    1/8/2016   BUY                45       9.44
UFCW Local 1262 and Employers Pension Fund                                   2/2/2016    SELL            1,725       6.97
UFCW Local 1262 and Employers Pension Fund                                   2/5/2016    SELL            2,430       7.01
UFCW Local 1262 and Employers Pension Fund                                  3/10/2016    SELL            1,165       9.12
Waterfront Employers - ILA Pension Fund                                       8/6/2015   BUY             2,170      13.93
Waterfront Employers - ILA Pension Fund                                     8/10/2015    BUY             1,930      14.22
Waterfront Employers - ILA Pension Fund                                     8/11/2015    BUY               300      14.04
Waterfront Employers - ILA Pension Fund                                     8/12/2015    BUY             1,095      13.95
Waterfront Employers - ILA Pension Fund                                     9/25/2015    SELL              120      13.22
Waterfront Employers - ILA Pension Fund                                     9/28/2015    SELL              870      13.02
Waterfront Employers - ILA Pension Fund                                    10/29/2015    BUY               375      13.57
Waterfront Employers - ILA Pension Fund                                    10/29/2015    BUY               245      13.45
Waterfront Employers - ILA Pension Fund                                    11/24/2015    SELL            1,250      12.08
Waterfront Employers - ILA Pension Fund                                     12/9/2015    BUY               320      14.02
Waterfront Employers - ILA Pension Fund                                    12/11/2015    BUY               800      13.82
Waterfront Employers - ILA Pension Fund                                       1/8/2016   BUY                20       9.44
Waterfront Employers - ILA Pension Fund                                      2/5/2016    SELL              630       7.01
Waterfront Employers - ILA Pension Fund                                     3/10/2016    SELL              575       9.12
Wichita Retirement Systems                                                 12/11/2014    BUY               300      15.00
Wichita Retirement Systems                                                 12/11/2014    SELL              300      22.53
Wichita Retirement Systems                                                    8/6/2015   BUY             9,500      13.93
Wichita Retirement Systems                                                  8/10/2015    BUY             8,450      14.22

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Name                                                                       Date           Trans.   Qnty           Price
Wichita Retirement Systems                                                   8/11/2015    BUY             1,300      14.04
Wichita Retirement Systems                                                   8/12/2015    BUY             4,800      13.95
Wichita Retirement Systems                                                   9/25/2015    SELL              600      13.22
Wichita Retirement Systems                                                   9/28/2015    SELL            3,800      13 .02
Wichita Retirement Systems                                                  10/29/2015    BUY             1,600      13.57
Wichita Retirement Systems                                                  10/29/2015    BUY             1,100      13.45
Wichita Retirement Systems                                                  11/24/2015    SELL            5,450      12.08
Wichita Retirement Systems                                                   12/9/2015    BUY             1,400      14.02
Wichita Retirement Systems                                                  12/11/2015    BUY             3,500      13.82
Wichita Retirement Systems                                                  12/31/2015    BUY             2,150      11.00
Wichita Retirement Systems                                                  12/31/2015    BUY               350      11.00
Wichita Retirement Systems                                                     1/5/2016   BUY             2,800      11.06
Wichita Retirement Systems                                                     1/8/2016   BUY               250       9.46
Wichita Retirement Systems                                                    2/2/2016    SELL            2,900       6.97
Wichita Retirement Systems                                                    2/5/2016    SELL            5,300       7.01
Wichita Retirement Systems                                                   3/10/2016    SELL            2,500       9.12




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